              Case: 22-10185      Doc: 15   Filed: 02/25/22   Page: 1 of 64



                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA

INRE:                                                 )
                                                      )
JOHN AND DEANNA WILLIAMS                              )       CASE NO. 22-10185
                                                      )       CHAPTER13
                     DEBTOR(S)                        )


    SUMMARY OF ASSETS AND LIABILITIES, SCHEDEULES, DECLARATION
      CONCERNING SCHEDULES, STATEMENT OF FINANCIAL AFFAIRS
 STATEMENT OF CURRENT MONTHLY INCOME AND CHAPTER 13 MEANS TEST,
DISCLOSURE OF ATTORNEY COMPENSATION, NOTICE TO INDIVIDUAL DEBTOR,
    AMENDED CREDITOR MATRIX, VERIFICATION OF CREDITOR MATRIX,



     COME NOW Debtors and submit their SUMMARY OF ASSETS AND LIABILITIES,
SCHEDEULES, DECLARATION CONCERNING SCHEDULES, STATEMENT OF
FINANCIAL AFFAIRS, STATEMENT OF CURRENT MONTHLY INCOME AND CHAPTER 7
MEANS TEST, DISCLOSURE OF ATTORNEY COMPENSATION, NOTICE TO INDIVIDUAL
DEBTOR, AMENDED CREDITOR MATRIX, VERIFICATION OF CREDITOR MATRIX, AND
STATEMENT OF INTENTION.


Respectfully submitted:

S/MIKEROSE
MICHAEL J ROSE PC
Michael J. Rose, OBA#15523
4101 Perimeter Center Drive, Suite 120
Oklahoma City, OK 73112
(405) 605-3757 telephone
(405) 605-3758 facsimile
michaeljrosepc@gmail.com
ATTORNEY FOR DEBTOR(S)




                                                                                  1
                                     Case: 22-10185                        Doc: 15               Filed: 02/25/22                     Page: 2 of 64
Fill in this information to identify your case:

Debtor 1                   John Henry Williams
                           First Name                           Middle Name                          Last Name

Debtor 2                   DeAnna Louise Williams
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  WESTERN DISTRICT OF OKLAHOMA

Case number           22-10185
(if known)            --------------                                                                                                                             D Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

IGIM Summarize Your Assets



 1.    Schedule AIB: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B ................................................................................................       $      1,400,000.00
                                                                                                                                                                         --------
       1b. Copy line 62, Total personal property, from Schedule A/B .....................................................................................            $ _ _ _2_64~,0_1_2_.o_o

       1c. Copy line 63, Total of all property on Schedule A/B ...............................................................................................       $ _ _ _1~,6_64~,0_1_2_.o_o

iptW Summarize Your Liabilities



 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ...                                                      885,971.68

 3.     Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EIF................................ .                             $      104,221.00
                                                                                                                                                                         --------
        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule EIF.......................... ..                               $              29,209.00


                                                                                                                                                                 I
                                                                                                                                     You• total Uabilltlos $ _ _ _           1~,_01_9~,4_0_1_.6_8_
ipiW Summarize Your Income and Expenses
 4.     Schedule I: Your Income (Official Form 1061)
        Copy your combined monthly income from line 12 of Schedule I .............................................................................. ..                               13,586.24

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J...................... ................................................... .                                            5,388.00

l@IW Answer These Questions for Administrative and Statistical Records
 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
        D No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

        •  Yes
 7.     What kind of debt do you have?

        •       Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
                household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        D   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright {c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
                                  Case: 22-10185                     Doc: 15   Filed: 02/25/22               Page: 3 of 64
Debtor 1     John Henry Williams
Debtor 2     DeAnna Louise Williams                                                       Case number (if known) 22-10185
                                                                                                                               ------,------------,
8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
      122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14.                                                                                      $ _ _ _ _1_8_,7_3_1_.9_8_


9.    Copy the following special categories of claims from Part 4, line 6 of Schedule EIF:



     mt11        ••          !m!tMWWWWllMMIMBll
      9a. Domestic support obligations (Copy line 6a.)
                                                                           ··=                       n
                                                                                                         $ _ _ _ __;:o..:..;:.o~o

      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $ _ _ _. . :1:..::0:.. .:4"',2::.:2=-1:..::·-=-00-=-

      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $ _ _ _ _ ____;0:..:·-=-0-=-0

      9d. Student loans. (Copy line 6f.)                                                                 $ ----=2=-=9:.i.,2::.0::..:9:..:·-=-00=-

      9e. Obligations arising out of a separation agreement or divorce that you did not report as
          priority claims. (Copy line 6g.)                                                               $ _ _ _ _ _ _o_.o_o_

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)           +$ -------=0:..:..0-=-0=-



      9Q. ro1a1. Add    i;,., '' '"""'" "·                                                          I1____1_3_3_,_,4_;3_0_.o_o_




 Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                                                  page 2 of 2
                                                                                                                                                                        Best Case Bankruptcy
 Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com
                                        Case: 22-10185                           Doc: 15               Filed: 02/25/22           Page: 4 of 64
Fill in this information to identify your case and this filing:

Debtor 1                     John Henry Williams
                             First Name                                 Middle Name                        Last Name

Debtor 2                     DeAnna Louise Williams
(Spouse, if filing)          First Name                                 Middle Name                        Last Name


United States Bankruptcy Court for the:                      WESTERN DISTRICT OF OKLAHOMA

                                                                                                                                                            D    Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   D   No. Go to Part 2.

   •   Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1619 Downing St                                                               •    Single-family home
        Street address, if available, or other description
                                                                                           Duplex or multi-unit building
                                                                                      D
                                                                                           Condominium or cooperative
                                                                                      D
                                                                                      D    Manufactured or mobile home
                                                                                                                                   Current value of the      Current value of the
        Oklahoma City                     OK         73120-0000                       D    Land                                    entire property?          portion you own?
        City                              State              ZIP Code                 D    Investment property                           $105,000.00                 $105,000.00
                                                                                      D    Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                      D    Other                                   (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one     a life estate), if known.
                                                                                      D    Debtor 1 only                           Fee simple
        Oklahoma                                                                      D    Debtor 2 only
        County                                                                        • Debtor 1 and Debtor 2 only
                                                                                                                                    D Check if this is community property
                                                                                      D At least one of the debtors and another         (see instructions)

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:
                                                                                 Legal Description: Lot Twelve (12) of Block Four (4) in Casady Heights, an
                                                                                 Addition in Oklahoma County, Oklahoma




 Official Form 106A/B                                                                     Schedule A/B: Property                                                               page 1
 Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com                                                                                                   Best Case Bankruptcy
                                        Case: 22-10185                  Doc: 15                Filed: 02/25/22                Page: 5 of 64
Debtor 1        John Henry Williams
Debtor 2        DeAnna Louise Williams                                                                                   Case number (if known)          22-10185
                                                                                                                                                         ~~~~~~~~~~-




      If you own or have more than one, list here:
1.2                                                                   What is the property? Check all that apply
      3104 Coltrane                                                     D      Single-family home
      Street address, if available, or other description
                                                                        D      Duplex or multi-unit building
                                                                        D      Condominium or cooperative

                                                                        D      Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
      Edmond                            OK        00000-0000            D      Land                                            entire property?              portion you own?
      City                              State              ZIP Code     D      Investment property                                    $150,000.00                    $150,000.00
                                                                        D      Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                        D      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one           a life estate), if known.
                                                                        D      Debtor 1 only                                   Joint tenant
      Oklahoma                                                          D      Debtor 2 only
      County                                                            •      Debtor 1 and Debtor 2 only
                                                                                                                                D   Check if this is community property
                                                                        D      At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:

                                                                      Legal Description: Part of the Northwest Quarter (NW/4) of section Twenty
                                                                      (20), Township Twelve (12) North, Range Two (2) West of the Indian
                                                                      Meridian, Oklahoma County, Oklahoma, more particulalry described as
                                                                      follows: Beginning at the Southwest Corner of said Quarter Section a
                                                                      distance of 188 feet; thence East and parallel to the south line of said
                                                                      Quarter Section a distance of 231.70 feet; thence South and parallel to the
                                                                      West line of said Quarter Section a distance of 188 feet to a point on the
                                                                      South side of Said Quarter Section; thence West along the South line of
                                                                      said Quarter Sectiona distance of 231.70 feet to the point or place of
                                                                      beginning


      If you own or have more than one, list here:
1.3                                                                   What is the property? Check all that apply
      1500 McDonald Drive                                               D      Single-family home
      Street address, if available, or other description
                                                                        D      Duplex or multi-unit building
                                                                        D      Condominium or cooperative

                                                                         D     Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
      Midwest City                                                       D     Land                                             entire property?              portion you own?
      City                              State              ZIP Code      D     Investment property                                       $49,000.00                    $49,000.00
                                                                         D     Timeshare
                                                                                                                                Describe the nature of your ownership Interest
                                                                         D     Other                                            (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one            a life estate), if known.
                                                                         D     Debtor 1 only                                    Joint tenant
                                                                         D     Debtor 2 only
      County                                                             •     Debtor 1 and Debtor 2 only
                                                                                                                                D   Check if this is community property
                                                                         D     At least one of the debtors and another              (see instructions)

                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      Legal Description: All Lot Thirteen (13), in Block Five (5), of McGregor
                                                                      Heights Addition, in Midwest City, Oklahoma County, Oklahoma




Official Form 106A/B                                                         Schedule A/B: Property                                                                            page 2
Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com                                                                                                    Best Case Bankruptcy
                                       Case: 22-10185                   Doc: 15               Filed: 02/25/22               Page: 6 of 64
Debtor 1        John Henry Williams
Debtor 2        DeAnna Louise Williams                                                                                  Case number (if known)    22-10185
                                                                                                                                                 ~~~~~~~~~~~




      If you own or have more than one, list here:
1.4                                                                   What is the property? Check all that apply
      2122 Ray Ave                                                      D     Single-family home
      Street address, if available, or other description
                                                                        D     Duplex or multi-unit building
                                                                        D     Condominium or cooperative

                                                                        D     Manufactured or mobile home
                                                                                                                               Current value of the      Current value of the
      Oklahoma City                                                     D     Land                                             entire property?          portion you own?
      City                              State              ZIP Code     D     Investment property                                      $66,000.00                  $66,000.00
                                                                        D     Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                        D     Other                                            (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one           a life estate), if known.
                                                                        D     Debtor 1 only                                    Fee simple
                                                                        D     Debtor 2 only
      County                                                            •     Debtor 1 and Debtor 2 only
                                                                                                                               D   Check if this is community property
                                                                        D     At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:

                                                                      Legal Description: A part of the North Half (N/2) of Block Three (3) of
                                                                      Suburban Acres Addition to Oklahoma City, Oklahoma County, Oklahoma
                                                                      Beginning at the Northwest Corner of said Blcok 3; thence East 165.5 feet;
                                                                      Thence South 136 feet; Thence West 165.5 feet; Thence North 136 feet to
                                                                      the point of beginning


      If you own or have more than one, list here:
1.5                                                                   What is the property? Check all that apply
      3204 N Bryant                                                      D     Single-family home
      Street address, if available, or other description                       Duplex or multi-unit building
                                                                         D
                                                                         D     Condominium or cooperative

                                                                         D     Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
      Oklahoma City                                                      D     Land                                            entire property?           portion you own?
      City                              State              ZIP Code      D     Investment property                                    $185,000.00                 $185,000.00
                                                                         D     Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                         D     Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one           a life estate), if known.
                                                                         D     Debtor 1 only                                   Joint tenant
                                                                         D     Debtor 2 only
      County                                                             •     Debtor 1 and Debtor 2 only
                                                                                                                               D    Check if this is community property
                                                                         D     At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                       Legal Description: Lot Twenty (20) in a Re-subdivision of a part of Forest
                                                                       Park Addition, Oklahoma City, Oklahoma County, Oklahoma




Official Form 106A/B                                                         Schedule A/B: Property                                                                          page 3
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                                        Case: 22-10185                   Doc: 15               Filed: 02/25/22            Page: 7 of 64
Debtor 1         John Henry Williams
Debtor 2         DeAnna Louise Williams                                                                               Case number (if known)           22-10185
                                                                                                                                                   ~~~~~~~~~~~




       If you own or have more than one, list here:
1.6                                                                    What is the property? Check all that apply
       918 NE 18th                                                       D     Single-family home
       Street address, if available, or other description
                                                                         D     Duplex or multi-unit building
                                                                         D     Condominium or cooperative

                                                                         D     Manufactured or mobile home
                                                                                                                             Current value of the          Current value of the
       Oklahoma City                                                     D     Land                                          entire property?              portion you own?
       City                              State              ZIP Code     D     Investment property                                  $119,000.00                    $119,000.00
                                                                         D     Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                         D     Other                                         (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one        a life estate), if known.
                                                                         D     Debtor 1 only                                 Fee simple
                                                                         D     Debtor 2 only
       County                                                            •     Debtor 1 and Debtor 2 only
                                                                                                                             D    Check if this is community property
                                                                         D     At least one of the debtors and another            (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Legal Description: Lot Eight (8), in Block Fourteen (14), of Lincoln Terrace
                                                                       Addition, to the City of Oklahoma City, Oklahoma County, Oklahoma


       If you own or have more than one, list here:
1. 7                                                                   What is the property? Check all that apply
       1416 NE 44th                                                       D    Single-family home
       Street address, if available, or other description
                                                                          D     Duplex or multi-unit building
                                                                          D     Condominium or cooperative

                                                                          D     Manufactured or mobile home
                                                                                                                                                            Current value of the
                                                                                                                             Current value of the
       Oklahoma City                                                      D     Land                                         entire property?               portion you own?
       City                              State              ZIP Code      D     Investment property                                    $50,000.00                    $50,000.00
                                                                          D     Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                          D     Other                                        (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one        a life estate), if known.
                                                                          D     Debtor 1 only                                Fee simple
                                                                          D     Debtor 2 only
       County                                                             •     Debtor 1 and Debtor 2 only
                                                                                                                              D   Check if this is community property
                                                                          D     At least one of the debtors and another           (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Legal Description: Lot 2, Block 2, Park Estates Fourth Addition to
                                                                        Oklahoma County, Oklahoma




Official Form 106A/B                                                          Schedule A/B: Property                                                                          page    4
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Debtor 1        John Henry Williams
Debtor2         DeAnna Louise Williams                                                                                     Case number (if known)            22-10185
                                                                                                                                                        ~~~~~~~~~~~




      If you own or have more than one, list here:
1.8                                                                   What is the property? Check all that apply
      2601 N Bryant Ave                                                 D        Single-family home
      Street address, if available, or other description
                                                                        D        Duplex or multi-unit building
                                                                        D        Condominium or cooperative

                                                                        D        Manufactured or mobile home
                                                                                                                                 Current value of the            Current value of the
      Oklahoma City                     OK        73121-0000            D        Land                                            entire property?                portion you own?
      City                              State              ZIP Code     D        Investment property                                       $77,000.00                     $77,000.00
                                                                        D        Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                        D        Other                                            (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one              a life estate), if known.
                                                                        D        Debtor 1 only                                    Fee simple
      Oklahoma                                                          D        Debtor 2 only
      County                                                            •        Debtor 1 and Debtor 2 only
                                                                                                                                  D    Check if this is community property
                                                                        D        At least one of the debtors and another               (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      Legal Description: Lots Thirty (30), Thirty-One (31) and Thirty-Two (32) in
                                                                      Blcok Thirteen (13) of Wails Addition, to Oklahoma City, Oklahoma
                                                                      County, Oklahoma


      If you own or have more than one, list here:
1.9                                                                   What is the property? Check all that apply
      329 NW 87th                                                        D       Single-family home
      Street address, if available, or other description
                                                                         D        Duplex or multi-unit building
                                                                         D        Condominium or cooperative

                                                                         D        Manufactured or mobile home
                                                                                                                                                                  Current value of the
                                                                                                                                  Current value of the
      Oklahoma City                                                      D        Land                                            entire property?                portion you own?
      City                               State             ZIP Code      D        Investment property                                       $64,000.00                     $64,000.00
                                                                         D        Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                         D        Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one              a life estate), if known.
                                                                         D        Debtor 1 only                                   Joint tenant
                                                                         D        Debtor 2 only
       County                                                               •     Debtor 1 and Debtor 2 only
                                                                                                                                   D    Check if this is community property
                                                                            D     At least one of the debtors and another               (see instructions)

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Legal Description: Lot Thirty-Three (33) and Thirty-Four (34) of Block
                                                                       Twelve (12), in subdivision of Block 11and12, Estes Acres to Oklahoma
                                                                       City, Oklahoma County, Oklahoma




                                                                                Schedule A/B: Property                                                                              page 5
Official Form 106A/B
                                                                                                                                                                          Best Case Bankruptcy
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                                       Case: 22-10185                  Doc: 15              Filed: 02/25/22              Page: 9 of 64
Debtor 1        John Henry Williams
Debtor 2        DeAnna Louise Williams                                                                               Case number (if known)    22-10185
                                                                                                                                              ~~~~~~~~~~~




      If you own or have more than one, list here:
1.1
0                                                                     What is the property? Check all that apply

      4801 Coble                                                        D     Single-family home
      Street address, if available, or other description
                                                                        D     Duplex or multi-unit building
                                                                        D     Condominium or cooperative

                                                                        D     Manufactured or mobile home
                                                                                                                           Current value of the       Current value of the
      Oklahoma City                                                     D     Land                                         entire property?           portion you own?
      City                              State              ZIP Code     D      Investment property                                  $97,000.00                  $97,000.00
                                                                        D     Timeshare
                                                                                                                            Describe the nature of your ownership interest
                                                                        D      Other                                        (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one        a life estate), if known.
                                                                        D      Debtor 1 only                                Fee simple
                                                                        D      Debtor 2 only
      County                                                            •      Debtor 1 and Debtor 2 only
                                                                                                                            D   Check if this is cpmmunity property
                                                                        D      At least one of the debtors and another          (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:

                                                                      Legal Description: Lot 9, Block 10, Oak Cliff Section 1, Oklahoma County,
                                                                      Oklahoma


      If you own or have more than one, list here:
1.1
1                                                                     What is the property? Check all that apply

      10018 Isaac Drive                                                  D     Single-family home
      Street address, if available, or other description                 D     Duplex or multi-unit building
                                                                         D     Condominium or cooperative

                                                                         D     Manufactured or mobile home
                                                                                                                            Current value of the       Current value of the
      Midwest City                                                       D     Land                                         entire property?           portion you own?
      City                              State              ZIP Code      D     Investment property                                  $83,000.00                  $83,000.00
                                                                         D     Timeshare
                                                                                                                            Describe the nature of your ownership interest
                                                                         D     Other                                        (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one        a life estate), if known.

                                                                         D     Debtor 1 only                                Fee simple
                                                                         D     Debtor 2 only
      County                                                             •     Debtor 1 and Debtor 2 only
                                                                                                                            D    Check if this is community property
                                                                         D     At least one of the debtors and another           (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:

                                                                      Legal Description: Lot 5, Block 3, Post Oak Addition to Midwest City,
                                                                      Oklahoma County, Oklahoma




Official Form 106A/B                                                         Schedule A/B: Property                                                                      page 6
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                                       Case: 22-10185                  Doc: 15              Filed: 02/25/22                 Page: 10 of 64
Debtor 1        John Henry Williams
Debtor 2        DeAnna Louise Williams                                                                                  Case number (if known)          22-10185
                                                                                                                                                        ~~~~~~~~~~~




      If you own or have more than one, list here:
1.1
2                                                                     What is the property? Check all that apply
      1309 NE 45th                                                      D     Single-family home
      Street address, if available, or other description
                                                                        D     Duplex or multi-unit building

                                                                        D     Condominium or cooperative

                                                                        D     Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
      Oklahoma City                                                     D     Land                                            entire property?              portion you own?
      City                              State              ZIP Code     D     Investment property                                      $75,000.00                    $75,000.00
                                                                        D     Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                        D     Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one          a life estate), if known.
                                                                        D     Debtor 1 only
                                                                        D     Debtor 2 only
      County                                                            •     Debtor 1 and Debtor 2 only
                                                                                                                               D   Check if this is community property
                                                                        D     At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      Legal Description: All of Lot Eleven (11) in Blcok Four (4) Park Estates VIII
                                                                      Addition to Oklahoma City, Oklahoma


      If you own or have more than one, list here:
1.1
3                                                                     What is the property? Check all that apply

      1808 Hardin Drive                                                 D      Single-family home
      Street address, if available, or other description
                                                                        D      Duplex or multi-unit building
                                                                        D      Condominium or cooperative

                                                                         D     Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
      Oklahoma City                                                      D     Land                                            entire property?              portion you own?
      City                              State              ZIP Code      D     Investment property                                      $40,000.00                    $40,000.00
                                                                         D     Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                         D     Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one           a life estate), if known.
                                                                         D     Debtor 1 only                                   Fee simple
                                                                         D     Debtor 2 only
      County                                                             •     Debtor 1 and Debtor 2 only
                                                                                                                               D   Check if this is community property
                                                                         D     At least one of the debtors and another             (see instructions)

                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      Legal Description: All of Lot Three (3) in Block Two (2) in Oleta Heights
                                                                      Subdivision as Addition to Oklahoma County, Oklahoma




Official Form 106NB                                                          Schedule NB: Property                                                                             page 7
Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com                                                                                                    Best Case Bankruptcy
                                        Case: 22-10185                        Doc: 15              Filed: 02/25/22                 Page: 11 of 64
Debtor 1           John Henry Williams
Debtor 2           DeAnna Louise Williams                                                                                       Case number (if known)          22·10185
                                                                                                                                                                ~~~~~~~~~~~




        If you own or have more than one, list here:
1.1
4                                                                            What is the property? Check all that apply
        3320 Norcrest Drive                                                     D     Single-family home
        Street address, if available, or other description
                                                                                D     Duplex or multi-unit building

                                                                                D     Condominium or cooperative

                                                                                D     Manufactured or mobile home
                                                                                                                                      Current value of the          Current value of the
                                                                                D     Land                                            entire property?              portion you own?
        City                              State              ZIP Code           D     Investment property                                    $240,000.00                    $240,000.00
                                                                                D     Timeshare
                                                                                                                                       Describe the nature of your ownership interest
                                                                                D     Other                                            (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one            a life estate), if known.
                                                                              D Debtor 1 only
                                                                                D     Debtor 2 only
        County                                                                  •     Debtor 1 and Debtor 2 only
                                                                                                                                       D   Check if this is community property
                                                                                D     At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here ...........................................................................=>                           $1,400,000.00




Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

  D     No
   •Yes


  3.1      Make:        Chevy                                           Who has an interest in the property? Check one
                       ~~---'-~~~~~~~~

           Model:       Silverado                                       D   Debtor 1 only
           Year:         2016
                       ~~~~~~~~~~~
                                                                        •   Debtor 2 only                                               Current value of the         Current value of the
           Approximate mileage:                                         D Debtor 1 and Debtor 2 only                                    entire property?             portion you own?
           Other information:                                           D At least one of the debtors and another
          VIN No. 3GCPCREC9GG380216
                                                                        D   Check if this is community property                                 $25,859.00                    $25,859.00
                                                                            (see instructions)



  3.2      Make:         Lexus                                          Who has an interest in the property? Check one
           Model:        E350                                           D   Debtor 1 only
           Year:         2011                                           D   Debtor 2 only                                               Current value of the         Current value of the
           Approximate mileage:                                         •   Debtor 1 and Debtor 2 only                                  entire property?             portion you own?
           Other information:                                           D   At least one of the debtors and another
          VIN No. JTHBK1 EG982453828
                                                                        D   Check if this is community property                                    $8,041.00                    $8,041.00
                                                                            (see instructions)




                                                                                    Schedule A/B: Property                                                                            page 8
 Official Form 106A/B
                                                                                                                                                                            Best Case Bankruptcy
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                                  Case: 22-10185                       Doc: 15           Filed: 02/25/22                 Page: 12 of 64
 Debtor 1        John Henry Williams
 Debtor 2        DeAnna Louise Williams

  3.3   Make:       Chevy                                     Who has an interest in the property?      Check one
                   ~~----=-~~~~~~~~

        Model:      2SC
                   ~~~~~~~~~~~
                                                              D Debtor 1 only
        Year:       2011                                      D Debtor 2 only
                                                                                                                              Current value of the
                   ~~~~~~~~~~~




                                                                                                                                                     Current value of the
        Approximate mileage:                                  • Debtor 1 and Debtor 2 only                                    entire property?       portion you own?
        Other information:                                    D At least one of the debtors and another
        VIN No. 1GCRCSEOOBZ234334
                                                              D Check if this is community property                                     $6,000.00              $6,000.00
                                                                    (see instructions)




4. Watercraft, aircraft, motor homes, A TVs and other recreational vehicles, other vehicles, and accessories·
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

  •No
  DYes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here .............................................................................=>              $39,900.00




   Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   D No
   •Yes. Describe .....

                                   Appliances: stove, microwave, refrigerator and dishwasher
                                   Furniture: loveseat, (2) sofas and bed
                                   Plastic silverware and dishes                                                                                                $3,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
   DNo
   • Yes. Describe .....

                                  I(4) televisions                                                                                                               $2,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
   • No
   D Yes. Describe .....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
   •No
   D Yes. Describe .....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    •No
   D Yes. Describe .....


Official Form 106A/B                                                       Schedule A/B: Property                                                                      page 9
Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com                                                                                           Best Case Bankruptcy
                                          Case: 22-10185                              Doc: 15                  Filed: 02/25/22      Page: 13 of 64
 Debtor 1         John Henry Williams
 Debtor2          DeAnna Louise Williams                                                                                         Case number (if known)   22-10185
11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   D    No
    •Yes. Describe .....

                                          IClothin, shoes and outerwear                                                                                                     $500.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
   • No
   D Yes. Describe .....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
   •No
   D Yes. Describe .....

14. Any other personal and household items you did not already list, including any health aids you did not list
   • No
   D Yes. Give specific information .....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                                $6,000.00




16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
   •No
   DYes ................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
   DNo
   •Yes ....................... .                                    Institution name:


                                             17.1.       Checking                               Bancfirst account ending in 9860                                         $1,500.00



                                             17.2.       Business Checking Bancfirst account ending in 3884                                                                 $200.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   •No
   Cl Yes..................                            Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
   •No
   D Yes. Give specific information about them .................. .
                                Name of entity:                                                                                   % of ownership:




Official Form 106A/B                                                                     Schedule A/B: Property                                                                 page 10
Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com                                                                                                    Best Case Bankruptcy
                                      Case: 22-10185                 Doc: 15         Filed: 02/25/22              Page: 14 of 64
Debtor 1         John Henry Williams
Debtor 2         DeAnna Louise Williams                                                                      Case number (if known)       22-10185
                                                                                                                                          ~~~~~~~~~~~




20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
   •No
   D Yes. Give specific information about them
                                 Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   DNo
   •Yes. List each account separately.
                            Type of account:                               Institution name:

                                        401k                               United States Post Office retirement plan                                 $216,472.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
   •No
   D Yes . ...... :..............                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   •No
   D Yes.............               Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   •No
   DYes ............ .              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    •No
    D Yes. Give specific information about them ...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    •No
    D Yes. Give specific information about them ...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    •No
    D Yes. Give specific information about them ...




 28. Tax refunds owed to you
    •No
    D Yes. Give specific information about them, including whether you already filed the returns and the tax years .......



 29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    •No
    D Yes. Give specific information ......




                                                                        Schedule A/B: Property                                                                 page 11
 Official Form 106A/B
                                                                                                                                                     Best Case Bankruptcy
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                                         Case: 22-10185                        Doc: 15                Filed: 02/25/22                     Page: 15 of 64
    Debtor 1         John Henry Williams
    Debtor 2         DeAnna Louise Williams                                                                                           Case number (if known)       22-10185
                                                                                                                                                                   ~~~~~~~~~~~




30. Other amounts someorie owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
              benefits; unpaid loans you made to someone else
   • No
          D Yes. Give specific information ..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's. insurance
   •No
   D Yes. Name the insurance company of each policy and list its value.
                                   Company name:                                            Beneficiary:                                                              Surrender or refund
                                                                                                                                                                      value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died .
   • No
   D Yes. Give specific information ..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
          •No
       D Yes. Describe each claim .........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
   •No
   D Yes. Describe each claim .........
35. Any financial assets you did not already list
   • No
   D Yes. Give specific information ..

    36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
        for Part 4. Write that number here .....................................................................................................................              $218, 172.00

               Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      •     No. Go to Part 6.
      D Yes. ·Go to line 38.


               Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           •No. Go to Part 7.
           D Yes.   Go to line   4i.

-                    Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
          •No
          D Yes. Give specific information .........

    54. Add the dollar value of all of your entries from Part 7. Write that number here ................................... .                                                         $0.00




Official Form 106A/B                                                                Schedule A/B: Property                                                                                 page 12
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                              Best Case Bankruptcy
                                            Case: 22-10185                          Doc: 15                Filed: 02/25/22                        Page: 16 of 64
    Debtor 1         John Henry Williams
    Debtor 2         DeAnna Louise Williams                                                                                                Case number (if known)   22-10185
                                                                                                                                                                    ~~~~~~~~~~




-                   List the Totals of Each Part of this Form

    55. Part 1: Total real estate, line 2 ......................................................................................................................               $1,400,000.00
    56. Part 2: Total vehicles, line 5                                                                           $39,900.00
    57. Part 3: Total personal and household items, line 15                                                       $6,000.00
    58. Part 4: Total financial assets, line 36                                                                 $218, 172.00
    59. Part 5: Total business-related property, line 45                                                               $0.00
    60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
    61. Part 7: Total other property not listed, line 54                                             +                 $0.00

    62. Total personal property. Add lines 56 through 61 ...                                                    $264,072.00              Copy personal property total            $264,072.00

    63. Total of all property on Schedule A/B. Add line 55. + line 62                                                                                                     $1,664,072.00




                                                                                          Schedule A/B: Property                                                                            page 13
      Official Form 106A/B
                                                                                                                                                                                  Best Case Bankruptcy
      Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com
                                     Case: 22-10185                   Doc: 15       Filed: 02/25/22           Page: 17 of 64
' Fill in this information to identify your case:

 Debtor 1               John Henry Williams
                        First Name                        Middle Name                Last Name

 Debtor 2               DeAnna Louise Williams
(Spouse if, filing)     First Name                        Middle Name                Last Name

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF OKLAHOMA

Case number           22-10185
                      ~~~~~~~~~~~~~-




(if known)                                                                                                                        D    Check if this is an
                                                                                                                                       amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                 4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule AIB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.                                                                                     ·
l@IM Identify the Property You Claim as Exempt
 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      •You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      D You are claiming federal exemptions.           11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule AIB that you claim as exempt, fill in the information below.




      3320 Norcrest Drive
      Line from Schedule AIB: 1.14
                                                                     $240,000.00
                                                                                    •
                                                                                    D
                                                                                                            $3,772.00

                                                                                        100% of fair market value, up to
                                                                                                                            Okla. Stat. tit. 31, §§
                                                                                                                            1 (A){1 ),(2); Okla. Stat. tit. 31, §
                                                                                                                            2
                                                                                        any applicable statutory limit

      2016 Chevy Silverado
      VIN No. 3GCPCREC9GG380216
      Line from Schedule AIB: 3.1
                                                                      $25,859.00
                                                                                    •
                                                                                    D
                                                                                                            $7,500.00

                                                                                        100% of fair market value, up to
                                                                                                                            Okla. Stat. tit. 31, § 1(A)(13)


                                                                                        any applicable statutory limit

       2011 Lexus E350
       VIN No. JTHBK1 EG982453828
       Line from Schedule AIB: 3.2
                                                                        $8,041.00
                                                                                    •
                                                                                    D
                                                                                                             $7,500.00

                                                                                        100% of fair market value, up to
                                                                                                                            Okle1. Stat. tit. 31, § 1(A){13)


                                                                                        any applicable statutory limit

       Appliances: stove, microwave,
       refrigerator and dishwasher
       Furniture: loveseat, (2) sofas and bed
                                                                        $3,500.00
                                                                                    •
                                                                                    D
                                                                                                             $3,500.00

                                                                                         100% of fair market value, up to
                                                                                                                            Okla. Stat. tit. 31, § 1(A){3)



       Plastic silverware and dishes                                                     any applicable statutory limit
       Line from Schedule A/B: 6.1

       (4) televisions
       Line from Schedule AIB: 7 .1
                                                                        $2,000.00
                                                                                    •
                                                                                    D
                                                                                                             $2,000.00

                                                                                         100% of fair market value, up to
                                                                                                                            Okla. Stat. tit. 31, § 1(A){3)


                                                                                         any applicable statutory limit



                                                        Schedule C: The Property You Claim as Exempt                                                    page 1 of 2
 Official Form 106C
                                                                                                                                                  Best Case Bankruptcy
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                                Case: 22-10185                       Doc: 15      Filed: 02/25/22           Page: 18 of 64

Debtor 1 John Henry Williams
Debtor 2 DeAnna Louise Williams                                                                   Case number (if known)     22-10185




   Clothin, shoes and outerwear
   Line from Schedule AIB: 11.1
                                                                       $500.00
                                                                                  •
                                                                                  D
                                                                                                            $500.00
                                                                                      100% of fair market value, up to
                                                                                                                           Okla. Stat. tit. 31, § 1(A)(7)


                                                                                      any applicable statutory limit

   Checking: Bancfirst account ending
   in 9860
   Line from Schedule AIB: 17.1
                                                                      $1,500.00
                                                                                  •
                                                                                  D
                                                                                                          $1,500.00
                                                                                      100% of fair market value, up to
                                                                                                                           Okla. Stat. tit.12, § 1171.1;
                                                                                                                           Okla. Stat. tit. 31, § 1(A)(18)

                                                                                      any applicable statutory limit

   Business Checking: Bancfirst
   account ending in 3884
   Line from Schedule AJB: 17.2
                                                                       $200.00
                                                                                  •
                                                                                  D
                                                                                                            $200.00
                                                                                      100% of fair market value, up to
                                                                                                                           Okla. Stat. tit. 12, § 1171.1;
                                                                                                                           Okla. Stat. tit. 31, § 1(A)(18)

                                                                                      any applicable statutory limit

   401 k: United States Post Office
   retirement plan
   Line from Schedule AIB: 21.1
                                                                    $216,472.00
                                                                                  •
                                                                                  D
                                                                                                       $216,472.00
                                                                                      100% of fair market value, up to
                                                                                                                           Okla. Stat. tit. 31, § 1(A)(20)


                                                                                      any applicable statutory limit


3. Are you claiming a homestead exemption of more than $170,350?
   (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
    •     No
    D     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          D      No
          D      Yes




                                                       Schedule C: The Property You Claim as Exempt                                                   page 2 of 2
Official Form 106C
                                                                                                                                                Best Case Bankruptcy
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                                      Case: 22-10185                 Doc: 15                Filed: 02/25/22   Page: 19 of 64
Fill in this information to identify your case:

Debtor 1                   John Henry Williams
                           First Name                      Middle Name                        Last Name

Debtor 2                   DeAnna Louise Williams
(Spouse if, filing)        First Name                      Middle Name                        Last Name

United States Bankruptcy Court for the:             WESTERN DISTRICT OF OKLAHOMA

Case number           22-10185
(if known)            --------------                                                                                               O Check if this is an
                                                                                                                                       amended filing

Official Form 1060
Schedule D: Creditors Who Have Claims Secured by Property                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number {if known).
1. Do any creditors have claims secured by your property?
      D   No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      • Yes. Fill in all of the information below.




                                                  Describe the property that secures the claim:
                                                  1309 NE 45th Oklahoma City
                                                  Legal Description: All of Lot Eleven
                                                  (11) in Blcok Four (4) Park Estates
                                                  VIII Addition to Oklahoma City,
                                                  Oklahoma
                                                  As of the date you file, the claim is:    Check all that
         POB 27370                                apply.
         Anaheim, CA 92809-0112                   D   Contingent
         Number, Street, City, State & Zip Code   D   Unliquidated
                                                  D Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 D   Debtor 1 only                                D An agreement you made (such as mortgage or secured
                                                       car loan)
 D   Debtor 2 only
 •   Debtor 1 and Debtor 2 only                   D   Statutory lien (such as tax lien, mechanic's lien)

 D At least one of the debtors and another        D   Judgment lien from a lawsuit
 D Check if this claim relates to a               D   other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number




                                                  Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of6
 Official Form 106D
                                                                                                                                                  Best Case Bankruptcy
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                                    Case: 22-10185                     Doc: 15               Filed: 02/25/22             Page: 20 of 64

Debtor   1 John Henry Williams                                                                              Case number (if known)   22-10185
             First Name                  Middle Name                       Last Name
Debtor 2     DeAnna Louise Williams
             First Name                  Middle Name                       Last Name


[ill Nationstar Mortgage                          Describe the property that secures the claim:                     $91,200.00         $49,000.00    $42,200.00
       Creditor's Name                            1500 McDonald Drive Midwest City
                                                  Legal Description: All Lot Thirteen
                                                  (13), in Block Five (5), of McGregor
                                                  Heights Addition, in Midwest City,
                                                  Oklahoma Countv, Oklahoma
                                                  As of the date you file, the claim is: Check all that
       350 Hiland Dr.                             apply.
       Lewisville, TX 75067                       D    Contingent
       Number, Street, City, State & Zip Code     D    Unliquidated
                                                  D Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
D    Debtor 1 only                                D An agreement you made (such as mortgage or secured
D    Debtor 2 only                                      car loan)

•    Debtor 1 and Debtor 2 only                   D    Statutory lien (such as tax lien, mechanic's lien)

D At least one of the debtors and another         D    Judgment lien from a lawsuit
D Check if this claim relates to a                D    Other (including a right to offset)
     community debt

Date debt was incurred                                     Last 4 digits of account number


[f3] Nationstar Mortgage                          Describe the property that secures the claim:                     $67 ,007 .00       $83,000.00           $0.00
       Creditor's Name                            10018 Isaac Drive Midwest City
                                                  Legal Description: Lot 5, Block 3,
                                                  Post Oak Addition to Midwest City,
                                                  Oklahoma Countv, Oklahoma
                                                  As of the date you file, the claim is: Check all that
       350 Hiland Dr.                             apply.
       Lewisville, TX 75067                       D    Contingent
       Number, Street, City, State & Zip Code     D    Unliquidated
                                                  D Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 D   Debtor 1 only                                D An agreement you made (such as mortgage or secured
                                                        car loan)
 D   Debtor 2 only
 •   Debtor 1 and Debtor 2 only                   D Statutory lien (such as tax lien, mechanic's lien)
 D At least one of the debtors and another        D Judgment lien from a lawsuit
 D Check if this claim relates to a               D Other (including a right to offset)
      community debt

 Date debt was incurred                                    Last 4 digits of account number




 Official Form 1060                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2   of6

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                                   Case: 22-10185                     Doc: 15             Filed: 02/25/22                Page: 21 of 64

Debtor 1 John Henry Williams                                                                                Case number (if known)   22-10185
             First Name                  Middle Name                    Last Name
Debtor 2 DeAnna Louise Williams
             First Name                  Middle Name                    Last Name


f4J ~~;en           Loan Servicing,
                                                  Describe the property that secures the claim:                    $83,945.00         $150,000.00            $0.00
      Creditor's Name
                                                  3104 Coltrane Edmond, OK
                                                  Oklahoma County
                                                  Legal Description: Part of the
                                                  Northwest Quarter (NW/4) of section
                                                  Twenty (20), Township Twelve (12)
                                                  North, Range Two (2) West of the
      1661 Worthington Road                       Indian Meridian, Oklahoma County,
      Suite 100                                   Oklahoma, more oarticulalrv d
                                                  As of the date you file, the claim is:   Check all that
      West Palm Beach, FL                         apply.
      33409                                       D    Contingent
      Number, Street, City, State & Zip Code      D    Unliquidated
                                                  D Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
D   Debtor 1 only                                 D An agreement you made (such as mortgage or secured
D   Debtor 2 only                                      car loan)

•   Debtor 1 and Debtor 2 only                    D Statutory lien (such as tax lien, mechanic's lien)
D At least one of the debtors and another         D Judgment lien from a lawsuit
D Check if this claim relates to a                D Other (including a right to offset)
    community debt

                               Opened
                               03/04 Last
Date debt was incurred         Active 01/22                Last 4 digits of account number         7297
                                                                                                  -------

f5J   ~~;en Loan Servicing,
                                                  Describe the property that secures the claim:                    $76,312.00         $185,000.00            $0.00
      Creditor's Name                             3204 N Bryant Oklahoma City
                                                  Legal Description: Lot Twenty (20)
                                                  in a Re-subdivision of a part of
      1661 Worthington Road                       Forest Park Addition, Oklahoma
      Suite 100                                   Ci Oklahoma Coun , Oklahoma
                                                  As of the date you file, the claim is:   Check all that
      West Palm Beach, FL                         apply.
      33409                                       D Contingent
       Number, Street, City, State & Zip Code     D Unliquidated
                                                  D Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.

•   Debtor 1 only                                 D An agreement you made (such as mortgage or secured
                                                        car loan)
D Debtor 2 only
D Debtor 1 and Debtor 2 only                      D Statutory lien (such as tax lien, mechanic's lien)
D At least one of the debtors and another         D Judgment lien from a lawsuit
D Check if this claim relates to a                D Other (including a right to offset)
     community debt

                               Opened
                               05/03 Last
Date debt was incurred         Active 01/22                Last 4 digits of account number        0270
                                                                                                  -------




Official Form 1060                     Additional Page of Schedule D: Cfeditors Who Have Claims Secured by Property                                       page 3 of6

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                                    Case: 22-10185                     Doc: 15                Filed: 02/25/22             Page: 22 of 64

Debtor 1 John Henry Williams                                                                                 Case number (if known)   22-10185
             First Name                   Middle Name                       Last Name
Debtor 2 DeAnna Louise Williams
             First Name



a
                                          Middle Name                       Last Name


       ~~;en Loan Servicing,
                                                   Describe the property that secures the claim:                    $66,569.00          $97,000.00            $0.00
       Creditor's Name
                                                   4801 Coble Oklahoma City
                                                   Legal Description: Lot 9, Block 10,
       1661 Worthington Road                       Oak Cliff Section 1, Oklahoma
       Suite 100                                   Countv, Oklahoma
                                                   As of the date you file, the claim is: Check all that
       West Palm Beach, FL                         apply.
       33409                                       D    Contingent
       Number, Street, City, State & Zip Code      D    Unliquidated
                                                   D Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.

•    Debtor 1 only                                 D An agreement you made (such as mortgage or secured
                                                        car loan)
D Debtor 2 only
D Debtor 1 and Debtor 2 only                       D    Statutory lien (such as tax lien, mechanic's lien)
D At least one of the debtors and another          D    Judgment lien from a lawsuit
D Check If this claim relates to a                 D    Other (including a right to offset)
     community debt

                               Opened
                               05/03 Last
Date debt was incurred         Active 01 /22                Last 4 digits of account number         7272
                                                                                                   -------
ITT] Select Portfolio Servicing                    Describe the property that secures the claim:                    $33,000.00          $50,000.00            $0.00
       Creditor's Name
                                                   1416 NE 44th Oklahoma City
                                                   Legal Description: Lot 2, Block 2,
                                                   Park Estates Fourth Addition to
                                                   Oklahoma County, Oklahoma
                                                   As of the date you file, the claim is: Check all that
       3217 Decker Lake Dr                         apply.
       Salt Lake City, UT 84119                    0    Contingent
       Number, Street, City, State & Zip Code      D    Unliquidated
                                                   D Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
 D Debtor 1 only                                   D An agreement you made (such as mortgage or secured
 D Debtor 2 only                                         car loan)

 •   Debtor 1 and Debtor 2 only                    D    Statutory lien (such as tax lien, mechanic's lien)
 0   At least one of the debtors and another       0    Judgment lien from a lawsuit
 0   Check if this claim relates to a              D    Other (including a right to offset)
     community debt

 Date debt was incurred                                     Last 4 digits of account number
                              ------




Official Form 1060                     Additional Page of Schedule D: Creditors Who.Have Claims Secured by Property                                        page 4of6

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                                     Case: 22-10185                     Doc: 15               Filed: 02/25/22              Page: 23 of 64

Debtor   1 John Henry Williams                                                                               Case number (if known)   22-10185
             First Name                   Middle Name                      Last Name
Debtor 2      DeAnna Louise Williams
              First Name                  Middle Name                      Last Name


[ill Select Portfolio Servicing                    Describe the property that secures the claim:                    $37,000.00          $40,000.00           $0.00
       Creditor's Name
                                                   1808 Hardin Drive Oklahoma City
                                                   Legal Description: All of Lot Three
                                                   (3) in Block Two (2) in Oleta Heights
                                                   Subdivision as Addition to
                                                   Oklahoma County, Oklahoma
                                                   As of the date you file, the claim is: Check all that
       3217 Decker Lake Dr                         apply.
       Salt Lake City, UT 84119                    D    Contingent
       Number, Street, City, State & Zip Code      D    Unliquidated
                                                   D Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
D    Debtor 1 only                                 D An agreement you made (such as mortgage or secured
D    Debtor 2 only                                      car loan)

 •   Debtor 1 and Debtor 2 only                    D    Statutory lien (such as tax lien, mechanic's lien)
D At least one of the debtors and another          D    Judgment lien from a lawsuit
D Check if this claim relates to a                 D    Other (including a right to offset)
     community debt

 Date debt was incurred                                     Last 4 digits of account number
                              ------

2.9 Select Portfolio                               Describe the property that secures the claim:                     $66,186.00         $77,000.00           $0.00
    Servicin , Inc
       Creditor's Name                             2601 N Bryant Ave Oklahoma City,
                                                   OK 73121 Oklahoma County
                                                   Legal Description: Lots Thirty (30),
                                                   Thirty-One (31) and Thirty-Two (32)
                                                   in Blcok Thirteen (13) of Wails
                                                   Addition, to Oklahoma City,
        Attn: Bankruptcy                           Oklahoma County, Oklahoma
                                                   As of the date you file, the claim is: Check all that
        Po Box65250                                apply.
        Salt Lake City, UT 84165                   D Contingent
        Number, Street, City, State & Zip Code     D Unliquidated
                                                   D Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.

 •   Debtor 1 only
                                                    0   An agreement you made (such as mortgage or secured
                                                         car loan)
 D Debtor 2 only
 D Debtor 1 and Debtor 2 only                       D   Statutory lien (such as tax lien, mechanic's lien)
 D At least one of the debtors and another          D   Judgment lien from a lawsuit
 0 Check.if this claim relates to a                 D   Other (including a right to offset)
      community debt

                        Opened
                        08/02 Last
 Date debt was incurred Active 01 /22                        Last 4 digits of account number        1709
                                                                                                    -------




                                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of6
 Official Form 106D
                                                                                                                                                     Best Case Bankruptcy
 Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com
                                    Case: 22-10185                   Doc: 15                Filed: 02/25/22                 Page: 24 of 64

Debtor 1 John Henry Williams                                                                                   Case number (it known)   22-10185
         First Name       Middle Name                                     Last Name
Debtor 2      DeAnna Louise Williams
              First Name     Middle Name                                  Last Name

2.1     Shellpoint Mortgage
o       Servicin                                 Describe the property that secures the claim:                       $236,228.00         $240,000.00            $0.00
        Creditor's Name
                                                 13320 Norcrest Drive                                      I
        Attn: Bankruptcy
                                                 As of the date you file, the claim is: Check all that
        Po Box 10826                             apply.
        Greenville, SC 29603                     D Contingent
        Number, Street, City, State & Zip Code   D    Unliquidated
                                                 D Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
D     Debtor 1 only                              D An agreement you made (such as mortgage or secured
D     Debtor 2 only                                   car loan)

•     Debtor 1 and Debtor 2 only                 D Statutory lien (such as tax lien, mechanic's lien)
D At least one of the debtors and another        D Judgment lien from a lawsuit
D Check if this claim relates to a               D Other (including a right to offset)
      community debt

                                Opened
                                3/26/04
                                Last Active
Date debt was incurred        12/21                      Last 4 digits of account number         3724
                              ------                                                             -------

2.1     US Bank Trust National
1       Association                              Describe the property that secures the claim:                        $53,524.68         $105,000.00            $0.00
        Creditor's Name                          1619 Downing St Oklahoma City,
                                                 OK 73120 Oklahoma County
                                                 Legal Description: Lot Twelve (12)
                                                 of Block Four (4) in Casady Heights,
        C/O Lamun Mock                           an Addition in Oklahoma County,
        Cunnyngham & Davis                       Oklahoma
                                                 As of the date you file, the claim is: Check all that
        5613 N Classen Blvd                      apply.
        Oklahoma City, OK 73118                  D Contingent
        Number, Street, City, State & Zip Code   D    Unliquidated
                                                 D Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
D     Debtor 1 only                               •   An agreement you made (such as mortgage or secured
D     Debtor 2 only                                    car loan)
•     Debtor 1 and Debtor 2 only                  D   Statutory lien (such as tax lien, mechanic's lien)
D At least one of the debtors and another         D   Judgment lien from a lawsuit
D Check If this claim relates to a                D   Other (including a right to offset)
       community debt

Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 6 of6
Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com                                                                                      Best Case Bankruptcy
                                  Case: 22-10185                          Doc: 15           Filed: 02/25/22                Page: 25 of 64
Fill in this information to identify your case:

Debtor 1                  John Henry Williams
                          First Name                       Middle Name                          Last Name

Debtor2                   DeAnna Louise Williams
(Spouse if, filing)       First Name                       Middle Name                          Last Name


United States Bankruptcy Court for the:                WESTERN DISTRICT OF OKLAHOMA

Case number           22-10185
(if known)            ---------------                                                                                                        O Check if this is an
                                                                                                                                                 amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                         12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Offlcial Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
l@IM List All of Your PRIORITY Unsecured Claims
 1.   Do any creditors have priority unsecured claims against you?
      0 No. Go to Part 2.
      •ves.




~            Internal Revenue Service                             Last 4 digits of account number
                                                                                                            ----          $100,000.00      $100,000.00               $0.00
             Priority Creditor's Name
             PO Box 745                                           When was the debt incurred?
             District Director
             Chicago, IL 60690
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                         0       Contingent
        0    Debtor 1 only                                        0       Unliquidated
        0    Debtor 2 only                                        0       Disputed
        •    Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

        0    At least one of the debtors and another                  0   Domestic support obligations

        0    Check if this claim is for a community debt              •   Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               0   Claims for death or personal injury while you were intoxicated
        •No                                                           0   Other. Specify - - - - - - - - - - - - - - - - - - - - - -
        Dves                                                                               income taxes due




 Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 1 of3
 Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                               23740                                    Best Case Bankruptcy
                                  Case: 22-10185                        Doc: 15           Filed: 02/25/22                 Page: 26 of 64
 Debtor 1 John Henry Williams
 Debtor 2 DeAnna Louise Williams                                                                           Case number (if known)       22-10185

~         Oklahoma County Assessor                                  Last 4 digits of account number                         Unknown                $0.00              $0.00
          Priority Creditor's Name                                                                     ----
          320 Robert S. Kerr                                        When was the debt incurred?
          Oklahoma City, OK 73102
          Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.
                                                                    D Contingent
      D Debtor 1 only
                                                                    D Unliquidated
      D Debtor 2 only
                                                                    D Disputed
      •   Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

      D At least one of the debtors and another                     D Domestic support obligations

      D Check if this claim is for a community debt                 •   Taxes and certain other debts you owe the government
      Is the claim subject to offset?                               D Claims for death or personal injury while you were intoxicated
      •   No                                                        D Other. Specify
      Dves                                                                             -----------------------
~         Oklahoma Tax Commission                                   Last 4 digits of account number _ _ __                  $4,221.00       $4,221.00                $0.00
          Priority Creditor's Name
          Attn: Bankruptcy Division                             When was the debt incurred?
          120 N Robinson Ste 2000
          Oklahoma City, OK 73102
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.
                                                                    D Contingent
      D Debtor 1 only
                                                                    D Unliquidated
      D Debtor 2 only
                                                                    D Disputed
      •   Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

      D At least one of the debtors and another                     D Domestic support obligations

      D Check if this claim is for a community debt                 •   Taxes and certain other debts you owe the government
      Is the claim subject to offset?                               D Claims for death or personal injury while you were intoxicated
      •   No
                                                                    D Other. Specify - - - - - - - - - - - - - - - - - - - - - -
      Dves                                                                              income taxes due


l@fM List All of Your NON PRIORITY Unsecured Claims
3.   Do any creditors have nonpriority unsecured claims against you?

     D No. You have nothing to report in this part. Submit this form to the court with your other schedules.

     •ves.




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 2 of 3
Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com                                                                                          Best Case Bankruptcy
                                   Case: 22-10185                       Doc: 15           Filed: 02/25/22                  Page: 27 of 64
Debtor 1      John Henry Williams
Debtor 2      DeAnna Louise Williams                                                                     Case number (it known)          22-10185

0        Navient
         Nonpriority Creditor's Name
                                                                    Last 4 digits of account number         0704
                                                                                                          ------                                         $29,209.00
         Attn: Bankruptcy                                                                                   Opened 07/03 Last Active
         Po Box 9640                                                When was the debt incurred?             12/21
         Wilkes-Barre, PA 18773
         Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
         V\lho incurred the debt? Check one.
         D    Debtor 1 only                                         D    Contingent

          •   Debtor 2 only                                         D    Unliquidated

         D Debtor 1 and Debtor 2 only                               D  Disputed
                                                                    Type of NONPRIORITY unsecured claim:
         D At least one of the debtors and another
         D Check if this claim is for a community                   •    Student loans
         debt                                                       D Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                            report as priority claims
          •No                                                       D    Debts to pension or profit-sharing plans, and other similar debts

          Dves                                                      D    Other. Specify
                                                                                          --------------------
                                                                                          Educational
l@fM List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have ·more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

l@IM Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.


                      6a.     Domestic support obligations                                                  6a.


                      6b.     Taxes and certain other debts you owe the government                          6b.       $~~~~~1_04~,_22~1_.o~o_
                      6c.     Claims for death or personal injury while you were intoxicated                6c.       $                  0.00
                      6d.     Other. Add all other priority unsecured claims. Write that amount here.       6d.       $ ---------0-.-,-0-,--0
                                                                                                                           ---------~




                      6e.     Total Priority. Add lines 6a through 6d.                                       6e.       $~~~~-1_04~,_22_1_.o_o_



                      6f.     Student loans                                                                  6f.       $~~~~---=29~·=20~9~.o~o_


                      69.     Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                          69.       $                 0.00
                      6h.     Debts to pension or profit-sharing plans, and other similar debts              6h.       $---------0-.-,-0-,--0
                                                                                                                           ---------~
                      6i.     Other. Add all other non priority unsecured claims. Write that amount          6i.
                              here.                                                                                    $~~~~~~-o_.o_o_

                      6j.     Total Non priority. Add lines 6f through 6i.                                   6j.       $                     29,209.00




                                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 3
 Official Form 106 E/F
                                                                                                                                                         Best Case Bankruptcy
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                                    Case: 22-10185                 Doc: 15         Filed: 02/25/22             Page: 28 of 64
 Fill in this information to identify your case:

 Debtor 1                   John Henry Williams
                            First Name                    Middle Name                 Last Name
 Debtor 2                   DeAnna Louise Williams
 (Spouse if, filing)        First Name                    Middle Name                 Last Name

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF OKLAHOMA

 Case number            22-10185
                        -=~:..=....:c=-...:c.._~~~~~~~~~

 (if known)                                                                                                                          D    Check if this is an
                                                                                                                                          amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.         Do you have any executory contracts or unexpired leases?
           •   No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           D   Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule AIB:Property (Official Form 106 A/B).

2.         List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
           and unexpired leases.




     2.1
               Name


               Number     Street

               Ci                                State                  ZIP Code
     2.2
               Name


               Number     Street

               Ci                                 State                 ZIP Code
     2.3
               Name


               Number     Street

               Ci                                 State                 ZIP Code
     2.4
               Name


               Number     Street

               Ci                                 State                 ZIP Code
     2.5
               Name


               Number     Street

               Ci                                 State                 ZIP Code




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                                        Page 1of1
Software Copyright (c) 1996-2021 Best Case, LLC-www.bestcase.com                                                                                       Best Case Bankruptcy
                                    Case: 22-10185                  Doc: 15   Filed: 02/25/22           Page: 29 of 64
Fill in this information to identify your case:

Debtor 1                   John Henry Williams
                           First Name                    Middle Name             Last Name

Debtor 2                   DeAnna Louise Williams
(Spouse if, filing)        First Name                    Middle Name             Last Name


United States Bankruptcy Court for the:            WESTERN DISTRICT OF OKLAHOMA

Case number             22-10185
                        _=c:;_c_:_-=...::~~~~~~~~~~

(if known)                                                                                                                 D   Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.                                    ·

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      •No
      DYes

      2. Within the last B years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)                      ·

      • No. Go to line 3.
      D Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 1060), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 1OGG). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.




   [IT]                                                                                            D Schedule D, line
                 Name                                                                              D Schedule E/F, line
                                                                                                   D Schedule G, line
                 Number           Street
                 City                               State                         ZIP Code




   Im            Name
                                                                                                    D Schedule D, line
                                                                                                    D Schedule E/F, line
                                                                                                    D Schedule G, line

                 Number            Street
                 City                                State                        ZIP Code




                                                                              Schedule H: Your Codebtors                                       Page 1of1
 Official Form 106H                                                                                                                       Best Case Bankruptcy
 Software Copyright (c) 1996-2021 Best Case, LLC-www.bestcase.com
                                 Case: 22-10185            Doc: 15         Filed: 02/25/22            Page: 30 of 64



F1ll 1n this 1nformat1on to 1dent1f   our case

Debtor 1                      John Henry Williams

Debtor 2                      DeAnna Louise Williams
(Spouse, if filing)

United States Bankruptcy Court for the:          WESTERN DISTRICT OF OKLAHOMA

Case number               22-10185                                                                     Check if this is:
(If known)
                                                                                                       D   An amended filing
                                                                                                       D   A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:
Official Form 1061                                                                                         MM/DD/YYYY
Schedule I: Your Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

lilffll               Describe Employment

 1.    Fill in your employment
       information.
       If you have more than one job,                               •Employed                                 •Employed
       attach a separate page with           Employment status
       information about additional                                 D   Not employed                          D   Not employed
       employers.
                                             Occupation
        Include part-time, seasonal, or
        self-employed work.                  Employer's name        US Postal                                 Equity Billing

        Occupation may include student       Employer's address
                                                                    5701 lnoff Rd                             1111 N Lee Ave, Ste 305
        or homemaker, if it applies.                                                                          Oklahoma City, OK 73103
                                                                    Maysville, OK 73057

                                             How long employed there?         30 years (405) 366-4691                    7 yrs (405) 942-3737
,,,,,                 Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.




        List monthly gross wages, salary, and commissions (before all payroll
 2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $        8,013.64         $          7,287.18

 3.       Estimate and list monthly overtime pay.                                           3.   +$               0.00      +$             0.00

 4.       Calculate gross Income. Add line 2 + line 3.                                      4.    $      8,013.64
                                                                                                                         II      $   7,287.18




 Official Form 1061                                                      Schedule I: Your Income                                                  page 1
                                        Case: 22-10185                                         Doc: 15                        Filed: 02/25/22                          Page: 31 of 64

Debtor 1   John Henry Williams
Debtor 2   DeAnna Louise Williams                                                                                                                                 Case number (if known)   22-10185
                                                                                                                                                                                           ~~~~~~~~~~~-




     Copy line 4     here·-----------------------------------------------------------------------------------------~---------------------------------     4.                 8,013.64
5.   List all payroll deductions:
     Sa.   Tax, Medicare, and Social Security deductions                                                                                                  Sa.      $                       $
                                                                                                                                                                             2,353.11                  1,086.76
     Sb.
     Sc.
           Mandatory contributions for retirement plans                                                                                                   Sb.      $           925.87      $                o.op
           Voluntary contributions for retirement plans                                                                                                   Sc.      $             0.00      $                0.00
     Sd.   Required repayments of retirement fund loans                                                                                                   Sd.      $             0.00      $                0.00
     Se.   Insurance                                                                                                                                      Se.      $           780.00      $                0.00
     Sf.   Domestic support obligations                                                                                                                   Sf.      $             0.00      $                0.00
     Sg.   Union dues                                                                                                                                     Sg.      $             0.00      $                0.00
     Sh.   Other deductions. Specify:                                                                                                                     Sh.+     $             0.00 +    $                0.00
6.   Add the payroll deductions. Add lines 5a+Sb+Sc+5d+5e+Sf+Sg+Sh.                                                                                       6.      $         4,058.98       $           1,086.76
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                                                  7.      $         3,954.66       $           6,200.42
s.   List all other income regularly received:
     Sa.· Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                                                           Sa.      $        3,431.16       $                0.00
     Sb.    Interest and dividends                                                                                                                        Sb.      $            0.00       $                0.00
     Sc.    Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                                                          Sc.      $              0.00     $                0.00
     Sd.    Unemployment compensation                                                                                                                     Sd.      $              0.00     $                0.00
     Se.    Social Security                                                                                                                               Se.      $              0.00     $                0.00
     Sf.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                                                                      Sf.  $                  0.00   $                  0.00
     Sg.    Pension or retirement income                                                                                                                  Sg.  $                  0.00   $                  0.00
     Sh. Other monthly income. Specify:                                                                                                                   Sh.+ $                  0.00 + $                  0.00

9.   Add all other income. Add lines Sa+Sb+Sc+Sd+Se+Sf+8g+8h.                                                                                             9.
                                                                                                                                                                 1$          3,431.161 1$                      o.ool
10. Calculate monthly income. Add line 7 + line 9.                                                                                                      10., $         7,385.821 +I$           6,200.421 =I $      13,586.241
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                                                                                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                                                                                          12.   $       13,586.24

                                                                                                                                                                                                           Combined
                                                                                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
    •     No.
    D     Yes. Explain:




Official Form 1061                                                                                                       Schedule I: Your Income                                                                       page2
                                  Case: 22-10185                 Doc: 15              Filed: 02/25/22           Page: 32 of 64



Fill   in   this 1nformat1on to 1dent1fy your case

Debtor 1                 John Henry Williams                                                                   Check if this is:
                                                                                                               D An amended filing
Debtor 2                  DeAnna Louise Williams                                                               D A supplement showing postpetition chapter
(Spouse, iffiling)                                                                                                 13 expenses as of the following date:

United States Bankruptcy Court for the:     WESTERN DISTRICT OF OKLAHOMA                                             MM /DD/YYYY

Case number 22-10185
(If known)  ---------------



Official Form 106J
Schedule J: Your Expenses                                                                                                                                1211s
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

1#1                Describe Your Household
1.          Is this a joint case?
            D No. Go to line 2.
            • Yes. Does Debtor 2 live in a separate household?

                   •No
                   D Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.          Do you have dependents?        •   No
            Do not list Debtor 1 and        DYes.     Fill out this information for    Dependent's relationship to       Dependent's    Does dependent
            Debtor 2.                                 each dependent............ ..    Debtor 1 or Debtor 2              age            llve with you?

            Do not state the                                                                                                            DNo
            dependents names.                                                                                                           DYes
                                                                                                                                        ONo
                                                                                                                                        DYes
                                                                                                                                        DNo
                                                                                                                                        DYes
                                                                                                                                        DNo
                                                                                                                                        DYes
3.          Do your expenses include                 •No
            expenses of people other than
            yourself and your dependents?            DYes

ldf         Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.

 Include expenses paid for with non-cash government assistance if you know
 the value of such assistance and have included it on Schedule I: Your Income
 (Official Form 1061.)

 4.         The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                        4. $                       1,373.00

            If not included in line 4:

            4a.   Real estate taxes                                                                            4a.   $                         0.00
            4b.   Property, homeowner's, or renter's insurance                                                 4b.   $                         0.00
            4c.   Home maintenance, repair, and upkeep expenses                                                4c.   $                         0.00
            4d.   Homeowner's association or condominium dues                                                  4d.   $                         0.00
  5.        Additional mortgage payments for your residence, such as home equity loans                          5.   $                         0.00




Official Form 106J                                                       Schedule J: Your Expenses                                                       page 1
                            Case: 22-10185                   Doc: 15           Filed: 02/25/22                Page: 33 of 64

Debtor 1     John Henry Williams
Debtor 2     DeAnna Louise Williams                                                                   Case number (if known)       22-10185

6.    Utilities:
      6a.      Electricity, heat, natural gas                                                               6a.    $                              550.00
      6b. Water, sewer, garbage collection                                                                  6b.    $                               50.00
      6c.      Telephone, cell phone, Internet, satellite, and cable services                               6c.    $                              200.00
      6d.      Other. Specify:                                                                              6d.    $                                0.00
7.    Food and housekeeping supplies                                                                         7.    $                              600.00
8.    Childcare and children's education costs                                                                8.   $                                0.00.
9.    Clothing, laundry, and dry cleaning                                                                    9.    $                              100.00
10.   Personal care products and services                                                                   10.    $                              200.00
11.   Medical and dental expenses                                                                           11.    $                              250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                          12. $                                 600.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                    13. $                                 200.00
14.   Charitable contributions and religious donations                                                      14. $                               1,000.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                  15a.    $                                0.00
      15b. Health insurance                                                                                15b.    $                                0.00
      15c. Vehicle insurance                                                                               15c.    $                              265.00
      15d. Other insurance. Specify:                                                                       15d.    $                                0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                              16. $                                    0.00
17.   lnstallme_n_t_o_r_le_a_s_e_p_a_y_m_e_n-ts_:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      17a. Car payments for Vehicle 1                                                                      17a. $                                    0.00
      17b. Car payments for Vehicle 2                                                                      17b. $                                    0.00
      17c. Other. Specify:                                                                                 17c. $                                    0.00
      17d. Other.Specify: - - - - - - - - - - - - - - - - - - - - - - 1 7 d . $                                                                      0.00
18. Your payments of alimony, maintenance, and support that you did not report as
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).        18. $              0.00
19. Other payments you make to support others who do not live with you.                        $              0.00
    Specify:                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
    20a. Mortgages on other property                                                     20a. $               0.00
    20b. Real estate taxes                                                               20b. $ ----------0-.0-0-
    20c. Property, homeowner's, or renter's insurance                                                      20c.    $                                 0.00
    20d. Maintenance, repair, and upkeep expenses                                                          20d.    $                                 0.00
    20e. Homeowner's association or condominium dues                                                       20e.    $                                 0.00
21. Other: Specify:                                                                                         21.    ~+_$_ _ _ _ _ _ _ _ _0_._o~o

22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     5,388.00
                                                                                                                       $-------~--
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $             5,388.00
                                                                                                                           --------'------
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $              13,586.24
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$ _ _ _ _ _ _ _5~,3_8_8._00_

      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                         23c.!,_$_ _ _ _ _ _ _ _8_,1_9_8_.2_4__.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      •No.
      DYes.              l,_E~x~p_la_in_h_e_re_:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                                     Case: 22-10185                  Doc: 15     Filed: 02/25/22         Page: 34 of 64




Fill in this information to identify your case:

Debtor 1                    John Henry Williams
                            First Name                     Middle Name             Last Name

Debtor2                     DeAnna Louise Williams
(Spouse if, filing)        First Name                      Middle Name             Last Name


United States Bankruptcy Court for the:             WESTERN DISTRICT OF OKLAHOMA

Case number             22-10185
                        ~-------------
(if known)                                                                                                              D Check if this is an
                                                                                                                            amended filing



Official Farm 106Dec
Declaration About an Individual Debtor's Schedules                                                                                              12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        •       No
        D       Yes. Name of person                                                     Attach Bankruptcy Petition Preparer's Notice,
                                          - - - - - - - - - - - - - - - - - - - - - - - Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ John Henry Williams                                                   X /s/ DeAnna Louise Williams
          John Henry Williams                                                         DeAnna Louise Williams
          Signature of Debtor 1                                                       Signature of Debtor 2

              Date       February 25, 2022                                             Date    February 25, 2022




 Official Form 106Dec                                      Declaration About an Individual Debtor's Schedules
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                                 Case: 22-10185                     Doc: 15        Filed: 02/25/22               Page: 35 of 64



Fill in this information to identify your case:

Debtor 1                  John Henry Williams
                          First Name                      Middle Name                   Last Name

Debtor2                   DeAnna Louise Williams
(Spouse if, filing)       First Name                      Middle Name                   Last Name


United States Bankruptcy Court for the:             WESTERN DISTRICT OF OKLAHOMA

Case number           22-10185
(if known)            --------------                                                                                                   D     Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

l@IM Give Details About Your Marital Status and Where You Lived Before
1.    What is your current marital status?

       •      Married
      D       Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

       •      No
      D       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

       •      No
       D      Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

fijfM Explain the Sources of Your Income
4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       D      No
       •      Yes. Fill in the details.




 For last calendar year:                          • Wages, commissions,                        $99,207.28         • Wages, commissions,                  $81,458.41
 (January 1 to December 31, 2021 )                bonuses, tips                                                   bonuses, tips

                                                  D   Operating a business                                        D   Operating a business




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1

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                                 Case: 22-10185                      Doc: 15         Filed: 02/25/22               Page: 36 of 64
Debtor 1      John Henry Williams
Debtor 2      DeAnna Louise Williams                                                                       Case number (if known)   22-10185
                                                                                                                                    ~~~~~~~~~~~~-




For the calendar year before that:                 • Wages, commissions,                      $184,378.00         • Wages, commissions,                $0.00
(January 1 to December 31, 2020 )
                                                   bonuses, tips                                                  bonuses, tips

                                                   D   Operating a business                                        D   Operating a business


                                                   D Wages, commissions,                        $23,400.00         D Wages, commissions,               $0.00
                                                   bonuses, tips                                                   bonuses, tips

                                                   •   Operating a business                                        D   Operating a business



5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     •     No
     D     Yes. Fill in the details.




l@M List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?
     D No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as "incurred by an
                individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                     D    No.   Go to line 7.
                     D    Yes   List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                     *Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

      •     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      •   No.      Go to line 7.
                      D   Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.




                                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 2
 Official Form 107
                                                                                                                                               Best Case Bankruptcy
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                                       Case: 22-10185                    Doc: 15          Filed: 02/25/22               Page: 37 of 64
 Debtor 1        John Henry Williams
 Debtor 2        DeAnna Louise Williams                                                                       Case number (it known)   22-10185


7.      Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
        Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
        of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
        a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
        alimony.

         •     No
         D     Yes. List all payments to an insider.




8.       Within 1 year before you filed for bankruptcy,.did you make any payments or transfer any property on account of a debt that benefited an
         insider?
         Include payments on debts guaranteed or cosigned by an insider.

         •     No
         D     Yes. List all payments to an insider




9.       Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
         List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
         modifications, and contract disputes.

         D      No
         •      Yes. Fill in the details.



             Unknown Plaintiff vs Unknown                          BankruptcyChapt             US BKPT CT OK OKLA CIT                  D Pending
             Defendant                                             er11                                                                D On appeal
             1513717JDL                                                                                                                D Concluded

                                                                                                                                       Dismissed - 0.00


             Unknown Plaintiff vs Unknown                          BankruptcyChapt             US BKPT CT OK OKLA CIT                  D Pending
             Defendant                                             er11                                                                D On appeal
             1212294                                                                                                                   D Concluded

                                                                                                                                       Discharged - 0.00


             JOHN WILLIAMS, DEANNA                                  Bankruptcy                 OKLAHOMA WESTERN -                      D Pending
             WILLIAMS vs Unknown Defendant                          Chapter 11                 OKLAHOMA CITY                           D On appeal
             1513717                                                                                                                   D Concluded

                                                                                                                                       Dismissed - 0.00


             JOHN WILLIAMS, DEANNA                                  Bankruptcy                  OKLAHOMA WESTERN -                     D Pending
             WILLIAMS vs Unknown Defendant                          Chapter 11                  OKLAHOMA CITY                          D On appeal
             1513717                                                                                                                   D Concluded

                                                                                                                                       Dismissed - 0.00


             State Of Oklahoma vs JOHN                              STATE TAX                   OKLAHOMA COUNTY                         D Pending
             WILLIAMS, DEANNA WILLIAMS                              WARRANT                     COURT                                   D On appeal
             1279004672                                                                                                                 D Concluded

                                                                                                                                        -3,423.00



                                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page3
     Official Form 107
                                                                                                                                                      Best Case Bankruptcy
     Sottware Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com
                                Case: 22-10185                      Doc: 15        Filed: 02/25/22              Page: 38 of 64
Debtor 1     John Henry Williams
Debtor 2     DeAnna Louise Williams                                                                      Case number (if known)   22-10185
                                                                                                                                  ~~~~~~~~~~




     State Of Oklahoma vs JOHN                                STATE TAX                   OKLAHOMA COUNTY                         D   Pending
     WILLIAMS, DEANNA WILLIAMS                                WARRANT                     CLERK                                   D   On appeal
     875532288                                                                                                                    D   Concluded

                                                                                                                                  - 798.00

     Unknown Plaintiff vs DEANNA                              FEDERAL TAX                 OKLAHOMA COUNTY                         D   Pending
     WILLIAMS, JOHN WILLIAMS                                  LIEN                        COURT                                   D   On appeal
     430482621                                                                                                                    D   Concluded

                                                                                                                                  -40,464.00

     Unknown Plaintiff vs DEANNA                              STATE TAX                   OKLAHOMA COUNTY                         D   Pending
     WILLIAMS, JOHN WILLIAMS                                  WARRANT                     COURT                                   D   On appeal
     1279004672                                                                                                                   D   Concluded

                                                                                                                                  - 3,423.00

     Unknown Plaintiff vs DEANNA                              STATE TAX                   OKLAHOMA COUNTY                         D   Pending
     WILLIAMS, JOHN WILLIAMS                                  WARRANT                     CLERK                                   D   On appeal
     875532288                                                                                                                    D   Concluded

                                                                                                                                  - 798.00

     Unknown Plaintiff vs DEANNA                               FEDERAL TAX                OKLAHOMA COUNTY                         D   Pending
     WILLIAMS, JOHN WILLIAMS                                   LIEN                       CLERK                                   D   On appeal
     20160725030015270                                                                                                            D   Concluded

                                                                                                                                  - 27,641.00

      U.S. BANK TRUST NATIONAL                                 Civil relief more          Oklahoma County District                D   Pending
      ASSOCIATION AS                                           than $10,000:              Court                                   D   On appeal
      TRUSTEE OF THE TIKI SERIES Ill                           FORECLOSURE                201 Robert S Kerr
                                                                                                                                  •   Concluded
      TRUST,                                                                              Oklahoma City, OK 73102
                                                                                                                                  Journal Entry of Judgment
                                                                                                                                  November 23, 2021
      PLAINTIFF,

      VS-

      JOHN H. WILLIAMS,
      DEANNA WILLIAMS,
      HOME LOAN CORPORTION D/B/A
      EXPANDED
      MORTGAGE CREDIT,
      THE BANK OF NEW YORK TRUST
      COMPANY, N/A/
      AS SUCCESSOR TO JPMORGAN
      CHASE BANK,
      N.A., AS TRUSTEE,
      NATIONSTAR MORTGAGE LLC,
      OCCUPANT1,AND
      OCCUPANT2


      DEFENDANTS.
      CJ-2008-420


Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page4

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                                Case: 22-10185                     Doc: 15         Filed: 02/25/22               Page: 39 of 64
Debtor 1      John Henry Williams
Debtor 2      DeAnna Louise Williams                                                                      Case number (if known)    22-10185
                                                                                                                                    ~~~~~~~~~~~~




10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

     •      No. Go to line 11.
     D      Yes. Fill in the information below.




11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
     •     No
     D     Yes. Fill in the details.




12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

     •     No
     D     Yes

l@JW List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     •      No
     D      Yes. Fill in the details for each gift.




14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
    D No
     •      Yes. Fill in the details for each gift or contribution.




         Father's House Church                                      tithe                                                    2020                 $16,884.00



         Father's House Church                                      tithe                                                    2019                 $15,325.00



l@IM List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

     •      No
     D      Yes. Fill in the details.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5

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                                    Case: 22-10185                   Doc: 15          Filed: 02/25/22               Page: 40 of 64
Debtor 1       John Henry Williams
Debtor 2       DeAnna Louise Williams                                                                     Case number (if known)   22-10185
                                                                                                                                   ~~~~~~~~~~~~




l@IM List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     D       No
     •       Yes. Fill in the details.




      Michael J Rose, PC                                             $3500 in attorney's fees and $313 in US                  January and        $3,500.00
      4101 Perimeter Center Drive                                    Bankruptcy Court filing fees                             February 2022
      Suite 120
      Oklahoma City, OK 73112


         Credit Card Management Services                             Pre-bankruptcy credit counseling                         February 2022          $24.00
         POB 220597                                                  service
         West Palm Beach, FL 33422


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

     •       No
     D       Yes. Fill in the details.




18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
      •      No
      D      Yes. Fill in the details.




19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
         •    No
         D    Yes. Fill in the details.



 l@l:M List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
     sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
     houses, pension funds, cooperatives, associations, and other financial institutions.
         •    No
         D Yes. Fill in the details.




                                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page&
 Official Form 107
                                                                                                                                              Best Case Bankruptcy
 Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com
                                 Case: 22-10185                     Doc: 15         Filed: 02/25/22              Page: 41 of 64
Debtor 1     John Henry Williams
Debtor2      DeAnna Louise Williams                                                                       Case number (if known)   22-10185
                                                                                                                                   ~~~~~~~~~~~~~




21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

     •     No
     D     Yes. Fill in the details.




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

     •     No
     D     Yes. Fill in the details.




l@l!M Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

     •     No
     D     Yes. Fill in the details.




For the purpose of Part 10, the following definitions apply:

•    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
•    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
•    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     •     No
     D     Yes. Fill in the details.




25. Have you notified any governmental unit of any release of hazardous material?

     •     No
     D     Yes. Fill in the details.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 7

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Debtor 1 John Henry Williams
Debtor 2 DeAnna Louise Williams                                                                         Case number (if known)   22-10185
                                                                                                                                 ~~~~~~~~~~~~




26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     •      No
     D Yes. Fill in the details.




l@llM Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            D A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            D A member of a limited liability company (LLC) or limited liability partnership (LLP)
            D    A partner in a partnership
            D An officer, director, or managing executive of a corporation
            D An owner of at least 5% of the voting or equity securities of a corporation
     D      No. None of the above applies. Go to Part 12.

     •      Yes. Check all that apply above and fill in the details below for each business.




         Crestnor, LLC                                                                                        EIN:          XX-XXXXXXX
         3320 Norcrest Dr
         Oklahoma City, OK 73121                                                                              From-To


         Women of Wealth                                                                                      EIN:          XX-XXXXXXX
         3320 Norcrest Dr
         Oklahoma City, OK 73121                                                                              From-To


         WilliamsJones Investments, LLC                                                                       EIN:          XX-XXXXXXX
         3320 Norcrest Dr
         Oklahoma City, OK 73121                                                                              From-To


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

     •      No
     D Yes. Fill in the details below.




I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 Isl John Henry Williams                                              Isl DeAnna Louise Williams
 John Henry Williams                                                  DeAnna Louise Williams
 Signature of Debtor 1                                                Signature of Debtor 2

 Date      February 25, 2022                                           Date     February 25, 2022

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
•No
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 8

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Debtor 1       John Henry Williams
Debtor2        DeAnna Louise Williams                                                                       Case number (if known)   22-10185
                                                                                                                                     ~~~~~~~~~~~~~




DYes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
•    No
D Yes. Name of Person _ _. Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




                                                          Statement of Financial Affairs for Individuals Flllng for Bankruptcy                              page9
    Official Form 107
                                                                                                                                                Best Case Bankruptcy
    Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com
                                  Case: 22-10185                     Doc: 15     Filed: 02/25/22           Page: 44 of 64


F1ll 1n this information to 1dent1fy your case                                                       Check as directed 1n lines 17 and 21

Debtor 1              John Henry Williams                                                              According to the calculations required by this
                                                                                                       Statement:
Debtor 2              DeAnna Louise Williams                                                           D     1. Disposable income is not determined under
(Spouse, if filing)                                                                                             11 u.s.c. § 1325(b)(3).
United States Bankruptcy Court for the:           Western District of Oklahoma                         •     2. Disposable income is determined under 11
                                                                                                                U.S.C. § 1325(b)(3).
Casenumber _2_2_-1_0_1_8_5~~~~~~~~~~~~~~~~
(if known)
                                                                                                       D     3. The commitment period is 3 years.

                                                                                                       •     4. The commitment period is 5 years.

                                                                                                        D   Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                       04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

                  Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
        D    Not married. Fill out Column A, lines 2-11.
        • Married. Fill out both Columns A and B, lines 2-11.




  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
                                                                                       $                   8,013.64     $        7,287.18
     payroll deductions).
  3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                       $                       0.00     $             0.00
     Column B is filled in.
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
                                                                                       $                       0.00      $             0.00
     you listed on line 3.
  5. Net income from operating a business,
     profession, or farm
     Gross receipts (before all deductions)           $           10,458.50




                                                                      .....
     Ordinary and necessary operating expenses       -$             7,027.34
     Net monthly income from a business,                                        Copy
                                                      $             3,431.16 here->$                       3,431.16      $             0.00
     profession, or farm
   6. Net income from rental and other real property
         Gross receipts (before all deductions)                         $      0.00
         Ordinary and necessary operating expenses                      -$     0.00
         Net monthly income from rental or other real property          $      0.00 Copy here -> $             0.00      $             0.00




 Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 1
                                                                                                                                              Best Case Bankruptcy
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                                                  Case: 22-10185                                         Doc: 15               Filed: 02/25/22                                 Page: 45 of 64
Debtor 1        John Henry Williams
Debtor2         DeAnna Louise Williams                                                                                                                          Case number (if known)                22-10185




 7. Interest, dividends, and royalties                                                                                                                        $      0.00                             $                0.00
                                                                                                                                                                ------
 8. Unemployment compensation                                                                                                                                 $   ____
                                                                                                                                                                     0.00
                                                                                                                                                                    __;___'-'---                      $ _ _ _ _-=..:c::.::_
                                                                                                                                                                                                                0.00
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
           For you__ ,,_,, _______________ ,, ____ ..........................................................$                            0.00
           For your spouse_________ ............_. _______________ .................______________$                                       0.00
 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act. Also, except as stated in the next sentence, do
    not include any compensation, pension, pay, annuity, or allowance paid by the
    United States Government in connection with a disability, combat-related injury or
    disability, or death of a member of the uniformed services. If you received any retired
    pay paid under chapter 61 of title 10, then include that pay only to the extent that it
    does not exceed the amount of retired pay to which you would otherwise be entitled
    if retired under any provision of title 10 other than chapter 61 of that title.         $                                                                         0.00                            $       0.00
                                                                                                                                                                  ------                                  ------
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act; payments made
     under the Federal law relating to the national emergency declared by the President
     under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
     coronavirus disease 2019 (COVID-19); payments received as a victim of a war
     crime, a crime against humanity, or international or domestic terrorism; or
     compensation, pension, pay, annuity, or allowance paid by the United States
     Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.
                                                                                                                                                          $                           0.00            $                0.00
                                                                                                                                                          $                           0.00            $                0.00
                       Total amounts from separate pages, if any.                                                                                       + $                           0.00            $                0.00
 11. Calculate your total average monthly income. Add lines 2 through 1O for
                                                                                                                                                          11,444.80                                 7,287.18                  18,731.98
     each column. Then add the total for Column A to the total for Column B.                                                                   1$                                  1·1$                               I=$
                                                                                                                                                                                                                            Total average
                                                                                                                                                                                                                            monthly Income

                   Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11 ........................................................................................................................                                     $      18,731.98
  13. Calculate the marital adjustment. Check one:
       D        You are not married. Fill in 0 below.
       •        You are married and your spouse is filing with you. Fill in 0 below.
       D        You are married and your spouse is not filing with you.
                Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
                dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
                Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
                adjustments on a separate page.
                 If this adjustment does not apply, enter 0 below.
                                                                                                                                                    $ _ _ _ _ __
                                                                                                                                                    $ _ _ _ _ __
                          - - - - - - - - - - - - - - - - - - - - - - - +$ _ _ _ _ __

                            Total                                                                                                                                                                                                       0.00
                                                                                                                                                \,_$_-_-_-_-_-_-_:_-_:_-_:_0-:::_.0-:::_0-=___,\ copy here=>


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                                                                                      I$ _ _18_.7_3_1._98_
  15. Calculate your current monthly income for the year. Follow these steps:
           15a. Copy line 14 here=>____________________________________________________________________________ .......... ________________________________________________________ ,, __________________________ _     $ - -18,731.98
                                                                                                                                                                                                                              ----

Official Form 122C-1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                                 page 2
Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com                                                                                                                                                              Best Case Bankruptcy
                               Case: 22-10185                       Doc: 15   Filed: 02/25/22           Page: 46 of 64
Debtor 1   John Henry Williams
Debtor2    DeAnna Louise Williams                                                               Case number (if known)   22-10185
                                                                                                                         ~~~~~~~~~~~~




              Multiply line 15a by 12 (the number of months in a year).                                                                 x 12
       15b. The result is your current monthly income for the year for this part of the form.                                       $    224,783.76




                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                            page 3
 Official Form 122C-1
                                                                                                                                            Best Case Bankruptcy
 Software Copyright (c) 1996-2021 Best Case, LLC-www.bestcase.com
                                                 Case: 22-10185                                      Doc: 15                      Filed: 02/25/22                                  Page: 47 of 64

Debtor1        John Henry Williams
Debtor2        DeAnna Louise Williams                                                                                                                               Case number (if known)                 22-10185


 16. Calculate the median family income that applies to you. Follow these steps:

      16a. Fill in the state in which you live.                                                                         OK

       16b. Fill in the number of people in your household.                                                                2
      16c. Fill in the median family income for your state and size of household.                                                                                                                                        $        63, 789.00
           To find a list of applicable median income amounts, go on line using tt{~--ff~k-~-P~-~iii~ci-i~--th~-~~p;i~~t~---········
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
 17. How do the lines compare?
       17a.         D        Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                             11 U.S. C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

      17b.          •        Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                             1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                             your current monthly income from line 14 above.
                    Calculate Your Commitment Period Under 11 U.S.C. § 1325(b){4)

18. Copy your total average monthly income from line 11 ..............................................................................................................                                              $
                                                                                                                                                                                                                        ______      18,731.98
                                                                                                                                                                                                                                                   _____
                                                                                                                                                                                                                                       ..::....:....      ;;,...



19. Ded.uct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
    contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your                                                                                                                                                  /
    spouse's income, copy the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                                           -$ _ _ _ _ _0._00_


       19b. Subtract line 19a from line 18.                                                                                                                                                                             $         18,731.98


20. Calculate your current monthly income for the year. Follow these steps:
                                                                                                                                                                                                                            $     18,731.98
       20a. Copy line 19b_____ ..................................................................................................................................................................................
                Multiply by 12 (the number of months in a year).                                                                                                                                                                x 12

       20b. The result is your current monthly income for the year for this part of the form                                                                                                                                $    224,783.76




       20c. Copy the median family income for your state and size of household from line 16c____ ..............................................                                                                             $     63,789.00


       21. How do the lines compare?

                 D        Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                          period is 3 years. Go to Part 4 .

               .•         Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                          commitment period is 5 years. Go to Part 4.

               Sign Below
        By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

     X /s/ John Henry Williams                                                                                                             X /s/ DeAnna Louise Williams
          John Henry Williams                                                                                                                     DeAnna Louise Williams
          Signature of Debtor 1                                                                                                                   Signature of Debtor 2

        Date February 25, 2022                                                                                                                    Date February 25, 2022
               MM/DD /YYYY                                                                                                                             MM/DD /YYYY
        If you checked 17a, do NOT fill out or file Form 122C-2.
          If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




                                             Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                                                  page 4
Official Form 122C-1
                                                                                                                                                                                                                                   Best Case Bankruptcy
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                                 Case: 22-10185                      Doc: 15      Filed: 02/25/22       Page: 48 of 64


Fill 1n this information to identify your case:

Debtor 1            John Henry Williams

Debtor 2            DeAnna Louise Williams
(Spouse, if filing)

United States Bankruptcy Court for the:            Western District of Oklahoma

Case number         22-10185
(if known)         -~--------------------
                                                                                                          D Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                      04/19
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1 ).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).




   5.     The number of people used in determining your deductions from income

          Fill in the number of people who could be claimed as exemptions on your federal income tax return,
          plus the number of any additional dependents whom you support. This number may be different from                   2
          the number of people in your household.




    6.    Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
          Standards, fill in the dollar amount for food, clothing, and other items.                                              $       1,292.00
                                                                                                                                     --------

    7.    Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
          the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
          people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
          higher than this IRS amount, you may deduct the additional amount on line 22.




 Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                       page 1
                                                                                                                                            Best Case Bankruptcy
 Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com
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Debtor1         John Henry Williams
Debtor2         DeAnna Louise Williams                                                             Case number (if known)      22-10185
                                                                                                                              ------------

          7a. Out-of-pocket health care allowance per person             $
                                                                             - - - -68
                                                                                     -
          7b. Number of people who are under 65                          x        2
          7c. Subtotal. Multiply line 7a by line 7b.                     $         136.00            Copy here=>       $          136.00



          7d. Out-of-pocket health care allowance per person             $ - - - - 142
                                                                                   --
          7e. Number of people who are 65 or older                       x----
                                                                             0
          7f.    Subtotal. Multiply line 7d by line 7e.                  $           0.00            Copy here=>       $            0.00

          7g. Tolal. Add Hoe 7o ood lioe "-..-·-----..-·-·-..-·-·-·-·-·-·-·-·-..   --·-·-11 ___    13_6_.o_o_                               I
                                                                                                                            eopy .,.,, hom"' $ ___1_3_6_.o_o_



   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
   • Housing and utilities - Insurance and operating expenses
   • Housing and utilities - Mortgage or rent expenses
   To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
   separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
   8.  Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill                    .
       in the dollar amount listed for your county for insurance and operating expenses.                                $______        579_00_
   9.     Housing and utilities - Mortgage or rent expenses:
          9a. Using the number of people you entered in line 5, fill in the dollar amount
              listed for your county for mortgage or rent expenses.                                                    $        1,067.00

          9b. Total average monthly payment for all mortgages and other debts secured by your home.
              To calculate the total average monthly payment, add all amounts that are
              contractually due to each secured creditor in the 60 months after you file
              for bankruptcy. Next divide by 60.




                 Shellpoint Mortgage Servicing                                $      1,373.00
                 --------------------                                             -------

                                   9b. Total average monthly payment                   1, 373.00    I~::.,        -$
                                                                                                                                            Repeat this amount
                                                                                                                                 1,373.00 on line 33a.

          9c.     Net mortgage or rent expense.

                  Subtract line 9b (total average monthly payment) from line 9a (mortgage
                  or rent expense). If this number is less than $0, enter $0.                         I $ _ _ _ _o_.o_o_            I~=>     1 _ _ _ _0_._00_

   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
       affects the calculation of your monthly expenses, fill in any additional amount you claim.                                            $       0.00
                                                                                                                                                 ------
            Explain why:




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                              page 2
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                                   Case: 22-10185                    Doc: 15               Filed: 02/25/22                            Page: 50 of 64

Debtor 1       John Henry Williams
Debtor2        DeAnna Louise Williams                                                                                     Case number (if known)      22-10185
                                                                                                                                                     ~-----------



   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

           D   0. Go to line 14.

           D   1. Go to line 12.

           • 2 or more. Go to line 12.
   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                              $            448.00
                                                                                                                                                                            ------
   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
       You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
       more than two vehicles.
                      Describe Vehicle 1:

   13a. Ownership or leasing costs using IRS Local Standard ................................................. .                  $ _ _ __:_o.-'-oo.: . ._
   13b. Average monthly payment for all debts secured by Vehicle 1.
           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all amounts that
           are contractually due to each secured creditor in the 60 months after you file for
           bankruptcy. Then divide by 60.




                                                                                    $
                --------------------                                                    -------
                                                                                                                                                               Repeat this
                                                                                                                              Copy                             amount on


                                                                                   I'--$----~----_-_-_-~_-_o-:=_.0-:=_0-=___,I
                                        Total Average Monthly Payment
                                                                                                                              here=>     -$ ____o_.o_o_ 11ne 33b.

   13c. Net Vehicle 1 ownership or lease expense                                                                                                            ~~~ful~e~
        Subtract line 13b from line 13a. if this number is less than           $0, enter $0.                                                                expense here
                                                                                                                                                            =>         $        ___o._oo_

    • • • Describe Vehicle 2:
    13d. Ownership or leasing costs using IRS Local Standard ................................................. .                 $ - - - -0.00
                                                                                                                                          --
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.




                  -NONE-                                                             $
                 ~-------------------                                                    ~------



                                                                                        - - - - - - I here
                                                                                                      Copy                                                   Repeat
                                                                                                                                                             amount this
                                                                                                                                                                    on line
                                         Total average monthly payment                $-        o.oo  => -$ _ _ _ _o_.o_o_                                   33c.
                                                                                    Ic __ _ _ _ _ _ _                     ~




    13f. Net Vehicle 2 ownership or lease expense                                                                                                           ~~~ful~e~
         Subtract line 13e from line 13d. if this number is less than           $0, enter $0.                                                               expense here
                                                                                                                                                            =>         $        ___o._o_o

    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
                                                                                                                                                                        $ _ _ _ _o_.o_o_
        Public Transportation expense allowance regardless of whether you use public transportation.
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may                                                             0.00
                                                                                                                                                                            $
        not claim more than the IRS Local Standard for Public Transportation.                                                                                                   ------




                                                            Chapter 13 Calculation of Your Disposable Income                                                                            page 3
 Official Form 122C-2
                                                                                                                                                                                 Best Case Bankruptcy
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Debtor1        John Henry Williams
Debtor2        DeAnna Louise Williams                                                                 Case number (if known)            22-10185




  16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
      self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
      your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
      and subtract that number from the total monthly amount that is withheld to pay for taxes.
      Do not include real estate, sales, or use taxes.                                                                                                         $      3,439.87
                                                                                                                                                                    ------
  17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
      contributions, union dues, and uniform costs.
      Do not include amounts that are not required by your job, such as voluntary 401 (k) contributions or payroll savings.                                         925.87
                                                                                                                                                               $ ---- --
  18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
      filing together, include payments that you make for your spouse's term life insurance.
      Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
      of life insurance other than term.                                                                                                                       $        0.00
                                                                                                                                                                    ------
  19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
      administrative agency, such as spousal or child support payments.
      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.                                $ - - - - 0.00
                                                                                                                                                                         --
  20.     Education: The total monthly amount that you pay for education that is either required:
          •     as a condition for your job, or
          •     for your physically or mentally challenged dependent child if no public education is available for similar services.                           $        0.00
                                                                                                                                                                    ------
  21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
      Do not include payments for any elementary or secondary school education.                                                                                $ - - - - 0.00
                                                                                                                                                                         --
  22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
      that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
      by a health savings account. Include only the amount that is more than the total entered in line 7.
      Payments for health insurance or health savings accounts should be listed only in line 25.                                                               $ _____o_.o_o_
  23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
      for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
      phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
      income, if it is not reimbursed by your employer.
      Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
      expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                                                    o_.o_o_
                                                                                                                                                             +$ _____

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                 6,820.74
       Add lines 6 through 23.



   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
          Health insurance                                              $           780.00
                                                                        $
                                                                           - - - -0.00
          Disability insurance
                                                                                  --
          Health savings account                                       + $ - - - -0.00
                                                                                  --
                                                                            $                    Copy total here=>. ____________________________________________$       780.00
          Total
                                                                                - - -780.00
                                                                                     ---                                                                            -------

          Do you actually spend this total amount?
          D      No. How much do you actually spend?

          •          Yes                                                    $
   26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                                                     $                 0.00
   27.        Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
              safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
              By law, the court must keep the nature of these expenses confidential.                                                                                $       0.00
                                                                                                                                                                        ------


Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                                     page 4
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Debtor1      John Henry Williams
Debtor2      DeAnna Louise Williams                                                                                                                             Case number (if known)                 22-10185
                                                                                                                                                                                                     ~-----------


  28. Additional home energy costs. Your home energy.costs are included in your insurance and operating expenses on
      line 8.
          If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
          8, then fill in the excess amount of home energy costs
          You must give your case trustee documentation of your actual expenses, and you must show that the additional
          amount claimed is reasonable and necessary.                                                                                                                                                                          $            0.00

  29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
      $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
      public elementary or secondary school.
          You must give your case trustee documentation of your actual expenses, and you must explain why the amount
          claimed is reasonable and necessary and not already accounted for in lines 6-23.
          •Subject to adjustment on 4/01/22, and every.3 years after that for cases begun on or after the date of adjustment.                                                                                                  $            0.00

  30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
      higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
      than 5% of the food and clothing allowances in the IRS National Standards.
           To find a chart showing the maximum additional allowance, go online using the link specified in the separate
           instructions for this form. This chart may also be available at the bankruptcy clerk's office.
           You must show that the additional amount claimed is reasonable and necessary.                                                                                                                                       $            0.00

  31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
      instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
           Do not include any amount more than 15% of your gross monthly income.                                                                                                                                               $            0.00


  32. Add all of the additional expense deductions.                                                                                                                                                                                  780.00
      Add lines 25 through 31.



   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
          To calculate the total average monthly payment, add all amounts that are contractually due to each secured
          creditor in the 60 months after you file for bankruptcy. Then divide by 60.
             Mortgages on your home

   33a.       Copy line 9b here_______________________________________________________________________________________________________________________________________________________________________________________=>   $ _ _1~,3_7_3_.0_0_

              Loans on your first two vehicles

   33b.       Copy line 13b here·-----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------=>     $___0._00_
   33c.       Copy line 13e here____________________________________________________________________________________________________________________________________________________________________________________ :=>   $___0._00_

   33d.       List other secured debts:




                                                                                           1309 NE 45th Oklahoma City
                                                                                           Legal Description: All of Lot Eleven (11)                                                         D        No

             FCI Lender Services
                                                                                           in Blcok Four (4) Park Estates VIII
                                                                                           Addition to Oklahoma City, Oklahoma
                                                                                            1500 McDonald Drive Midwest City
                                                                                                                                                                                             •        Yes                  $         491.01


                                                                                            Legal Description: All Lot Thirteen (13), in
                                                                                            Block Five (5), of McGregor Heights                                                              D        No

             Nationstar Mortgage
                                                                                            Addition, in Midwest City, Oklahoma
                                                                                            County, Oklahoma
                                                                                            10018 Isaac Drive Midwest City
                                                                                                                                                                                              •       Yes                  $         787.00


                                                                                            Legal Description: Lot 5, Block 3, Post                                                           D        No

             Nationstar Mortgage
                                                                                            Oak Addition to Midwest City, Oklahoma
                                                                                            County, Oklahoma                                                                                  •        Yes                 $         900.00




Official Form 122C-2                                                                Chapter 13 Calculation of Your Disposable Income                                                                                                       page 5
                                                                                                                                                                                                                                    Best Case Bankruptcy
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Debtor1    John Henry Williams
Debtor2    DeAnna Louise Williams                                                                                     Case number (if known)   22-10185

                                                                 3104 Coltrane Edmond, OK Oklahoma
                                                                 County
                                                                 Legal Description: Part of the Northwest
                                                                 Quarter (NW/4) of section Twenty (20),
                                                                 Township Twelve (12) North, Range Two
                                                                 (2) West of the Indian Meridian,                                       D      No
                                                                 Oklahoma County, Oklahoma, more
          Ocwen Loan Servicing, LLC                              particulalry d
                                                                 3204 N Bryant Oklahoma City
                                                                                                                                        •      Yes           $       656.92

                                                                 Legal Description: Lot Twenty (20) in a
                                                                 Re-subdivision of a part of Forest Park                                D      No
                                                                 Addition, Oklahoma City, Oklahoma
          Ocwen Loan Servicing, LLC                              County, Oklahoma
                                                                 4801 Coble Oklahoma City
                                                                                                                                        •      Yes           $       830.46

                                                                 Legal Description: Lot 9, Block 10, Oak                                D      No
                                                                 Cliff Section 1, Oklahoma County,
          Ocwen Loan Servicing, LLC                              Oklahoma
                                                                 1416 NE 44th Oklahoma City
                                                                                                                                        •      Yes           $       590.81

                                                                 Legal Description: Lot 2, Block 2, Park                                 D     No
                                                                 Estates Fourth Addition to Oklahoma
          Select Portfolio Servicing                             County, Oklahoma
                                                                  1808 Hardin Drive Oklahoma City
                                                                                                                                        •      Yes           $       380.25

                                                                  Legal Description: All of Lot Three (3) in
                                                                  Block Two (2) in Oleta Heights                                         D     No

          Select Portfolio Servicing
                                                                  Subdivision as Addition to Oklahoma
                                                                  County, Oklahoma
                                                                  2601 N Bryant Ave Oklahoma City, OK
                                                                                                                                         •     Yes           $       300.25


                                                                  73121 Oklahoma County
                                                                  Legal Description: Lots Thirty (30),
                                                                  Thirty-One (31) and Thirty-Two (32) in
                                                                  Blcok Thirteen (13) of Wails Addition, to                              D     No

          Select Portfolio Servicing, Inc
                                                                  Oklahoma City, Oklahoma County,
                                                                  Oklahoma
                                                                  1619 Downing St Oklahoma City, OK
                                                                                                                                         •     Yes           $       490.00


                                                                  73120 Oklahoma County
                                                                  Legal Description: Lot Twelve (12) of                                  D     No
          US Bank Trust National                                  Block Four (4) in Casady Heights, an
          Association                                             Addition in Oklahoma County, Oklahoma                                  •     Yes           $       479.09



   33e    Total average monthly payment. Add lines 33a through 33d ________________________________________ '._____        $           7,278.79
                                                                                                                                                     C~y~
                                                                                                                                                     total
                                                                                                                                                     here=>      $   7,278. 79




                                                             Chapter 13 Calculation of Your Disposable Income                                                               page 6
Official Form 122C-2
                                                                                                                                                                     Best Case Bankruptcy
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Debtor 1         John Henry Williams
Debtor2          DeAnna Louise Williams                                                                                               Case number (if known)   22-10185

   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?
           D No.           Go to line 35.
           •     Yes. State any amount that you must pay to a creditor, in addition to the payments
                      listed in line 33, to keep possession of your property (called the cure amount).
                      Next, divide by 60 and fill in the information below.



                                                                          1309 NE 45th Oklahoma City
                                                                          Legal Description: All of Lot Eleven
                                                                          (11) in Bleak Four (4) Park Estates VIII
    FCI Lender Services                                                   Addition to Oklahoma City, Oklahoma $                                      3,177.00 +60= $                  52.95
                                                                          10018 Isaac Drive Midwest City
                                                                          Legal Description: Lot 5, Block 3, Post
                                                                          Oak Addition to Midwest City,
    Nationstar Mortgage                                                   Oklahoma County, Oklahoma                $                                51,099.00 + 60 = $               851.65
                                                                          1500 McDonald Drive Midwest City
                                                                          Legal Description: All Lot Thirteen
                                                                          (13), in Block Five (5), of McGregor
                                                                          Heights Addition, in Midwest City,
     Nationstar Mortgage                                                  Oklahoma County, Oklahoma                $                                52,770.00 + 60 = $               879.50

                                                                                                                                                                       Copy
                                                                                                                                                                       total
                                                                                                                                    Total '--$~~~~~~1='-7_8=4=·=10~__, here=> $ ___1_,7_8_4_.1_0_
                                                                                                                                         I                         I
   35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
       are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
           D No.            Go to line 36.
           •·Yes. Fill in the total amount of all of these priority claims. Do not include current or
                  ongoing priority claims, such as those you listed in line 19.
                   Total amount of all past-due priority claims_____________________________________________________________ _            $         104,221.00         +60      $      1,737.02
   36. Projected monthly Chapter 13 plan payment                                                                                          $            8,200.00
           Current multiplier for your district as stated on the list issued by the Administrative
           Office of the United States Courts (for districts in Alabama and North Carolina) or by
           the Executive Office for United States Trustees (for all other districts).                                                     x            5.20
           To find a list of district multipliers that includes your district, go on line using the link specified in the
           separate instructions for this form. This list may also be available at the bankruptcy clerk's office.

                                                                                                                                                       426.40
                                                                                                                                                                  Ihere=>
                                                                                                                                                                   Copy total
                                                                                                                                                                            $             426.40
           Average monthly administrative expense
                                                                                                                                               1$

                                                                                                                                                                                    11,226.31
    37. Add all of the deductions for debt payment.                                                                                                                          1$
        Add lines 33e through 36.


    38. Add all of the allowed deductions.
               Copy line 24, All of the expenses allowed under IRS
               expense allowances_______________________________________________________________________________ _    $          6,820.74
                                                                                                                          -------
               Copy line 32, All of the additional expense deductions______________ _                                 $
                                                                                                                          - - - - 780.00
                                                                                                                                  ---
               Copy line 37, All of the deductions for debt paymen~------------------                                +$ _ _ _1_1~,2_26_._31_


               Total deductions ....................................................................                  $         18,827.05       ICopy-lhore~                 $        18,827.05




Official Form 122C-2                                                             Chapter 13 Calculation of Your Disposable Income                                                           page 7 .
                                                                                                                                                                                     Best Case Bankruptcy
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Debtor1      John Henry Williams
Debtor2      DeAnna Louise Williams                                                                                               Case number (if known)                  22-10185

                Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

   39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period.                                                                                             $         18,731.98
                                                                                                                                    -------------------------------------------        ----------
   40. Fill in any reasonably necessary income you receive for support for dependent
       children. The monthly average of any child support payments, foster care payments, or
       disability payments for a dependent child, reported in Part I of Form 122C-1, that you
       received in accordance with applicable nonbankruptcy law to the extent reasonably
       necessary to be expended for such child.                                                                                            $        0.00
                                                                                                                                               -------
   41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
       employer withheld from wages as contributions for qualified retirement plans, as specified
       in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
       specified in 11 U.S.C. § 362(b)(19).                                                                                                $         0.00
                                                                                                                                             -------
   42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here                                           =>      $    18,827.05
                                                                                                                                             -------
   43. Deduction for special circumstances. If special circumstances justify additional
       expenses and you have no reasonable alternative, describe the special circumstances and
       their expenses. You must give your case trustee a detailed explanation of the special
       circumstances and documentation for the expenses.



                                                                                                          $
                                                                                                              --------
                                                                                                          $
                                                                                                              --------
                                                                                                          $


                                                                                                                                                                                       0.00



   44. Total adjustments. Add lines 40 through 43'--------------------·····-·-············-··········-·-···-··········--···· =>    I$ _ _1_8_,8_2_1._o_s                          I~::.., -s ___ 18_,_82_1_._os_
                                                                                                                                   ~------~




   45. Calculate your monthly disposable income under§ 1325(b)(2). Subtract line 44 from line 39.                                                                                      I$ ____-9_5_.0_7
                Change in Income or Expenses

   46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
       have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
       time your case will be open, fill in the information below. For example, if the wages reported increased after
       you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
       wages increased, fill in when the increase occurred, and fill in the amount of the increase.



   D 122C-1                                                                                                                                      D     Increase
   D 122C-2                                                                                                                                      D     Decrease                    $
   D 122C-1                                                                                                                                      D     Increase
   D 122C-2                                                                                                                                      D     Decrease                    $
   D 122C-1                                                                                                                                      D     Increase
   D 122C-2                                                                                                                                      D     Decrease                    $
   D 122C-1                                                                                                                                      D     Increase
   D 122C-2                                                                                                                                      D     Decrease                    $




Official Form 122C-2                                               Chapter 13 Calculation of Your Disposable Income                                                                                    page 8
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Debtor 1     John Henry Williams
Debtor2      DeAnna Louise Williams                                                                Case number (if known)   22-10185




               Sign Below



           By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      x     /s/ John Henry Williams                                                 x   /s/ DeAnna Louise Williams
            John Henry Williams                                                         DeAnna Louise Williams
            Signature of Debtor 1                                                       Signature of Debtor 2
   Date February 25, 2022                                                         Date February 25, 2022
        MM/DD /YYYY                                                                    MM/DD /YYYY




                                                            Chapter 13 Calculation of Your Disposable Income                                          page 9
 Official Form 122C-2
                                                                                                                                              Best Case Bankruptcy
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                           Chapter7:         Liquidation
This notice is for you if:
                                                                                                   $245     filing fee
       You are an individual filing for bankruptcy,
       and                                                                                          $78     administrative fee

       Your debts are primarily consumer debts.                                            +        $15     trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101 (8) as "incurred by an individual                                                     $338     total fee
       primarily for a personal, family, or
       household purpose."                                                                 Chapter 7 is for individuals who have financial
                                                                                           difficulty preventing them from paying their debts
                                                                                           and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                              property to be used to pay their creditors. The
individuals              ·                                                                 primary purpose of filing under chapter 7 is to have
                                                                                           your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                     relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                         many of your pre-bankruptcy debts. Exceptions exist
                                                                                           for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                             be enforced after discharge. For example, a creditor
                                                                                           may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                         repossess an automobile.

                                                                                           However, if the court finds that you have committed
       Chapter 12 - Voluntary repayment plan
                                                                                           certain kinds of improper conduct described in the
                   for family farmers or
                                                                                           Bankruptcy Code, the court may deny your
                   fishermen
                                                                                           discharge.
        Chapter 13 - Voluntary repayment plan
                                                                                           You should know that even if you file chapter 7 and
                    for individuals with regular
                                                                                           you receive a discharge, some debts are not
                    income
                                                                                           discharged under the law. Therefore, you may still
                                                                                           be responsible to pay:
You should have an attorney review your
                                                                                               most taxes;
decision to file for bankruptcy and the choice of
chapter.
                                                                                               most student loans;

                                                                                               domestic support and property settlement
                                                                                               obligations;




                                                                                                                                                page 1
 Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)
                                                                                                                                    Best Case Bankruptcy
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       most fines, penalties, forfeitures, and criminal                               your income is more than the median income for your
       restitution obligations; and                                                   state of residence and family size, depending on the
                                                                                      results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                           administrator, or creditors can file a motion to dismiss
       papers.                                                                        your case under§ 707(b) of the Bankruptcy Code. If a
                                                                                      motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                   be dismissed. To avoid dismissal, you may choose to
                                                                                      proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                Code.

       fraud or defalcation while acting in breach of                                 If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                            the trustee may sell your property to pay your debts,
                                                                                      subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                   of the proceeds from the sale of the property. The
                                                                                      property, and the proceeds from property that your
       death or personal injury caused by operating a                                 bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                           entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                         enable you to keep your home, a car, clothing, and
                                                                                      household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                 the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                    Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                     you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A-1) if you are an                                   as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                   proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A-2).
                                                                                                      $1, 167   filing fee
If your income is above the median for your state, you
must file a second form -the Chapter 7 Means Test                                            +          $571    administrative fee
Calculation (Official Form 122A-2). The calculations on                                               $1, 738   total fee
the form- sometimes called the Means Test-deduct
from your income living expenses and payments on                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay                                    but is also available to individuals. The provisions of
unsecured creditors. If                                                                   chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2

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           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

            You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
            necessary documents.

            Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
            bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
            fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
            20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                              Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                         to repay your creditors all or part of the money that
            farmers or fishermen                                                              you owe them, usually using your future earnings. If
                                                                                              the court approves your plan, the court will allow you
                                                                                              to repay your debts, as adjusted by the plan, within 3
                  $200       filing fee                                                       years or 5 years, depending on your income and other
+                  $78       administrative fee                                               factors.
                  $278       total fee
                                                                                              After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                      many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                      not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                        pay include:
are not paid.
                                                                                                     domestic support obligations,

                                                                                                     most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                                 certain taxes,
            income
                                                                                                     debts for fraud or theft,

                   $235       filing fee                                                             debts for fraud or defalcation while acting in a
                    $78       administrative fee                                                     fiduciary capacity,
+
                   $313       total fee
                                                                                                     most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                                  certain debts that are not listed in your
installments over a period of time and to discharge                                                  bankruptcy papers,
some debts that are not paid. You are eligible for
                                                                                                     certain debts for acts that caused death or
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.                                                         personal injury, and

                                                                                                     certain long-term secured debts.




Notice Required by 11     u.s.c. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page3

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                                                                                          A married couple may file a bankruptcy case
                                                                                          together-called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
                                                                                          bankruptcy petition, the bankruptcy court generally will
                                                                                          mail you and your spouse one copy of each notice,
                                                                                          unless you file a statement with the court asking that
                                                                                          each spouse receive separate copies.

                                                                                          Understand which services you could receive from
                                                                                          credit counseling agencies

                                                                                          The law generally requires that you receive a credit
                                                                                          counseling briefing from an approved credit counseling
                                                                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury-either orally or in writing-in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101 ). To ensure                                     If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page4

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82030 (Form 2030) (12/15)
                                                                           United States Bankruptcy Court
                                                                                   Western District of Oklahoma
             John Henry Williams
 In re       DeAnna Louise Williams                                                                                                                     Case No.   22-10185
                                                                                                              Debtor(s)                                 Chapter    13

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept____ ...................................................................................   $               3,500.00
              Prior to the filing of this statement I have received.......... _________________ ..,, _____ ..................................       $               3,500.00
              Balance Due                                                                                                                           $                   0.00

2.    The source of the compensation paid to me was:

              •     Debtor               D Other (specify):
3.    The source of compensation, to be paid to me is:

              •     Debtor               D       Other (specify):

4.       •   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         D I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.     [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A} for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                                                 CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 25, 2022                                                                                        Isl Michael J Rose
     Date                                                                                                     Michael J Rose 15523
                                                                                                              Signature ofAttorney
                                                                                                              Michael J Rose PC
                                                                                                              4101 Perimeter Center Drive
                                                                                                              Suite 120
                                                                                                              Oklahoma City, OK 73112
                                                                                                              (405) 605-3757 Fax: (405) 605-3758
                                                                                                              michaeljrosepc@gmail.com
                                                                                                              Name of law firm




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                                                             United States Bankruptcy Court
                                                                     Western District of Oklahoma
           John Henry Williams
 In re     DeAnna Louise Williams                                                                       Case No.   22-10185
                                                                                  Debtor(s)             Chapter    13



                                             VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.
                                              \



Date:      February 25, 2022                                            Isl John Henry Williams
                                                                        John Henry Williams
                                                                        Signature of Debtor

Date:      February 25, 2022                                            Isl DeAnna Louise Williams
                                                                        DeAnna Louise Williams
                                                                        Signature of Debtor




                                                                                                                              .Best Case Bankruptcy
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 US ATTORNEY'S OFFICE/OKLAHOMA
 210 PARK AVE . , # 4 0 0
 OKLAHOMA CITY OK 73102



 INTERNAL REVENUE SERVICE
 PO BOX 745
 DISTRICT DIRECTOR
 CHICAGO IL 60690



  OKLAHOMA TAX COMMISSION
  ATTN: BANKRUPTCY DIVISION
  120 N ROBINSON STE 2000
. OKLAHOMA CITY OK 73102



FCI LENDER SERVICES
POB 27370
ANAHEIM CA 92809-0112



 NATIONSTAR MORTGAGE
 350 HILAND DR.
 LEWISVILLE TX 75067



 NAVIENT
 ATTN: BANKRUPTCY
 PO BOX 9640
 WILKES-BARRE PA 18773



 OCWEN LOAN SERVICING, LLC
 1661 WORTHINGTON ROAD
 SUITE 100
 WEST PALM BEACH FL 33409



 OKLAHOMA COUNTY ASSESSOR
 32 0 ROBERT S. KERR
 OKLAHOMA CITY OK 73102



 SELECT PORTFOLIO SERVICING
 3217 DECKER LAKE DR
 SALT LAKE CITY UT 84119
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SELECT PORTFOLIO SERVICING, INC
ATTN: BANKRUPTCY
PO BOX 65250
SALT LAKE CITY UT 84165



SHELLPOINT MORTGAGE SERVICING
ATTN: BANKRUPTCY
PO BOX 10826
GREENVILLE SC 29603



US BANK TRUST NATIONAL ASSOCIATION
C/O LAMUN MOCK CUNNYNGHAM & DAVIS
5613 N CLASSEN BLVD
OKLAHOMA CITY OK 73118
